        Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 1 of 63



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF IOWA
                                      CENTRAL DIVISION


CHRISTOPHER ROE,                   |
          Plaintiff                |                         CIVIL ACTION NO.
                                   |
        v.                         |
                                   |                         COMPLAINT AND JURY DEMAND
GRINNELL COLLEGE,                  |
                                   |
                 Defendant.        |

        Plaintiff Christopher Roe (“Plaintiff”), 1 by his attorneys Nesenoff & Miltenberg, LLP and

Babich Goldman, P.C., as and for his Complaint against Defendant Grinnell College (“Grinnell”

or the “College”) alleges as follows:

                                   THE NATURE OF THE ACTION

        1.       This action arises out of the actions and omissions, and the policies and procedures

employed by the College, concerning false allegations of sexual misconduct lodged against

Plaintiff by a female Grinnell student, Jane Doe 2 over two years after the alleged occurrence, only

months before his graduation.

        2.       Jane Doe filed a Title IX complaint against Plaintiff at the same time that she joined

a group of female students in filing a sexual harassment complaint against a male professor. The

group falsely publicized that the professor had been fired and had engaged in prior instances of

sexual harassment—statements which were later retracted.

        3.       Jane Doe was also, upon information and belief, friends with a female student who

had made false allegations against Plaintiff’s roommate and started a smear campaign against


1
  Plaintiff has filed herewith a motion to proceed by pseudonym. There were two recent lawsuits against Grinnell in
the public record, captioned “John Doe v. Grinnell College et al.,” Case No. 4:17-cv-00079-RGE-SBJ (“Grinnell 1”),
and “Peter P. Moe v. Grinnell College,” Case No. 4:20-cv-00058-RGE-SBJ (“Grinnell 2”). Plaintiff has elected to use
“Christopher Roe” in order to avoid confusion between the cases.
2
  This is a pseudonym.
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 2 of 63



Plaintiff’s roommate and other male students, about which the College did little or nothing.

Plaintiff sought a no contact order against this student after Plaintiff’s roommate was forced to

leave the College. Jane Doe filed her complaint shortly after the departure of Plaintiff’s roommate.

       4.      When Jane Doe made the allegations against Plaintiff, and spoke with the Title IX

investigator, she referred to another male student—not Plaintiff—as the perpetrator of the alleged

sexual misconduct. This was not questioned.

       5.      Plaintiff was not made aware of Jane Doe’s allegations until several weeks after

she made her Title IX complaint. When the College’s Title IX Coordinator met with Plaintiff, she

informed him about Jane Doe’s allegations and referenced a second, anonymous complaint. While

Grinnell elected not to pursue the anonymous complaint, the Title IX Coordinator used it to open

a formal investigation against Plaintiff under a purported pattern of behavior, and to leverage Jane

Doe’s complaint, which was weak and lacking in credibility.

       6.      Per Jane Doe’s own statements to the College’s Title IX investigator and the

College’s adjudicator, the Hon. Marsha Ternus (“Justice Ternus”), she consented to certain sexual

activities with Plaintiff while making out with him on the night in question. With respect to an

alleged act of digital penetration—which followed a number of consensual acts and which Plaintiff

denied even occurred—Jane Doe admitted that she did not say no, and that she did not tell Plaintiff

to stop that activity at any point in time. Though this encounter occurred with the lights out, Jane

Doe asserted that Plaintiff should have figured out that she did not consent to the alleged activity

because of her facial expression.

       7.      Even assuming that the activity in question occurred (it did not), under Grinnell’s

applicable sexual misconduct policy Jane Doe was required to withdraw consent to the ongoing




                                                 2
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 3 of 63



sexual activity by mutually understandable words or clear, unambiguous actions. This she did not

do.

       8.      No decisionmaker in the Title IX process questioned Jane Doe’s credibility. They

simply assumed that because Plaintiff denied that the act of digital penetration occurred, Plaintiff

was not telling the truth. All of the decisionmakers in Plaintiff’s case placed the burden on him to

prove that he did not sexually assault Jane Doe. Despite clear policy language to the contrary, they

assumed that Plaintiff was at all times responsible for obtaining Jane Doe’s consent.

       9.      The adjudicator in Plaintiff’s case, Justice Ternus, possesses outdated and

discriminatory views of gender, including the autonomy and choices of females in sexual

encounters, that influenced her decision-making process and caused her to find Plaintiff

responsible for nonconsensual sexual intercourse even though Jane Doe’s own statements

contradicted the finding. This is one of a number of such cases that Justice Ternus wrongfully

decided. It is also believed that Justice Ternus recommended the imposition of harsh sanctions

against Plaintiff, though her written recommendations were not provided to Plaintiff.

       10.     Sarah Moschenross (“Ms. Moschenross”), the Dean of Students at the time, was

responsible for imposing sanctions on Plaintiff as a result of Justice Ternus’ erroneous finding.

Even though she is purported to be an impartial decisionmaker, Ms. Moschenross has published a

number of posts on her social media accounts which are indicative of her bias against men. She

elected to impose a number of harsh sanctions against Plaintiff, including a campus ban on the eve

of his graduation, pursuant to a false narrative that Plaintiff posed a threat of harm to the

community—even though he and Jane Doe had coexisted on Grinnell’s campus for over two years

prior to her Title IX complaint. Plaintiff was required to finish his coursework remotely, he was

not permitted to walk at his graduation, and his Bachelors’ degree was deferred for one year. The



                                                 3
       Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 4 of 63



College will further maintain a permanent, conduct record in Plaintiff’s education records which

will be disclosed to graduate schools and, potentially, future employers.

       11.     Plaintiff appealed the finding and sanctions to former Vice President of Student

Affairs Andrea Conner (“Ms. Conner”), who has expressed the belief that all sexual misconduct

proceedings start with dismissal as the outcome and that students found responsible for policy

violations should have to explain those findings for the rest of their lives. Unsurprisingly, Ms.

Conner denied Plaintiff’s appeal. Her denial letter was laden with hostility towards Plaintiff,

including the comment “I am sorry to hear that you still have uncertainties about when your sexual

partners are or are not consenting”—a topic that was not at issue in Plaintiff’s appeal or otherwise.

Ms. Conner also showed deference to Justice Ternus despite a clear lack of impartiality, and

procedural errors, in the underlying proceedings.

       12.     When Grinnell subjected Plaintiff to disciplinary action it did so in a way that

deprived him of a fair process and discriminated against him because of his gender. Grinnell’s

policies and regulations as promulgated, and as applied, are gender-biased and discriminatory.

       13.     Plaintiff therefore brings this action to obtain relief based on claims for violations

of Title IX of the Education Amendments of 1972, state law breach of contract, breach of the

implied covenant of good faith and fair dealing, and wrongful discipline/lack of fundamental

fairness in disciplinary proceedings.

                                          THE PARTIES

       14.     Plaintiff Christopher Roe is a natural person and a citizen of Tennessee. During the

events described herein Plaintiff was a student at Grinnell College who resided in Grinnell, Iowa.

       15.     Defendant Grinnell College, an Iowa citizen, is a private liberal arts college located

in Grinnell, Iowa. It is the recipient of state and federal funding through grants and contracts.



                                                  4
       Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 5 of 63



                                 JURISDICTION AND VENUE

       16.     This Court’s federal and supplemental jurisdiction is invoked pursuant to 28 U.S.C.

§ 1331, 28 U.S.C. § 1343 and 28 U.S.C. § 1367 because: (i) the case arises under the laws of the

United States; (ii) the claims brought under Title IX of the Educational Amendments of 1972, 20

U.S.C. § 1681 et seq. are civil rights claims; and (iii) the state law claims are so closely related to

the federal law claims as to form the same case and controversy under Article III of the U.S.

Constitution. This Court also has jurisdiction pursuant to 28 U.S.C. § 1332(a) because there is

complete diversity between the parties.

       17.     This Court has personal jurisdiction over Defendant because it is located, and

conducting business, in the State of Iowa.

       18.     Venue for this action properly lies in this District pursuant to 28 U.S.C. §1391

because the events or omissions giving rise to the claim occurred in this judicial district.

                FACTUAL ALLEGATIONS RELEVANT TO ALL CLAIMS

I.     Plaintiff’s Background

       19.     Plaintiff was a student at the College beginning in Fall 2014 and until the Spring

2018 semester, when fellow Grinnell student Jane Doe lodged a years-old Title IX complaint

against him. Prior to these allegations, which resulted in Plaintiff being “suspended” for one year

on the eve of his graduation, Plaintiff had no disciplinary record and was in good standing.

II.    The Policies and Procedures Applicable to Plaintiff’s Title IX Proceedings

       20.     On an annual basis, typically at the beginning of the Fall semester, Grinnell

provides its enrolled students with a copy of its “Policy, Procedures and Guide to Preventing

Reporting, and Responding to Sexual Misconduct and Other Forms of Interpersonal Violence”




                                                  5
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 6 of 63



(the “Sexual Misconduct Policy”) via email. Students are also provided with a copy of Grinnell’s

Student Conduct policies and processes, or access to same via email.

       21.     Under Iowa law, these policies and procedures create a contractual relationship

between Grinnell and its students. See, e.g. T.E. v. Linn-Mar Community School Dist., No. LACV

35077, 2000 WL 34514000 (Iowa Dist. Ct. Aug. 30, 2000); Harvey v. Palmer College of

Chiropractic, 363 N.W.2d 443 (1984).

       22.     Grinnell’s relevant Sexual Misconduct Policy, last revised in September 2017,

provided as follows:

       (i)     The College would “respond promptly and equitably” to reports of sexual
               misconduct “while tailoring the resolution to best fit the facts and circumstances
               and the goals of Title IX.” Id. at p. 2.

       (ii)    The Sexual Misconduct Policy was intended to “[p]rovide the Grinnell College
               community with a clear set of behavioral standards and clear definitions of
               Prohibited Conduct.” Id.

       (iii)   “The College does not discriminate on the basis of… sex, gender, sexual
               orientation…gender identity or expression.” Id. at p. 3.

       (iv)    “Grinnell College is committed to a policy of nondiscrimination in…access to and
               participation in its education programs, services and activities.” Id.

       (v)     “The College, as an educational community, will promptly and equitably respond
               to reports of Prohibited Conduct in order to eliminate the conduct, prevent its
               recurrence, and address its effects on any individual or the community.” Id. at p. 7.

       (vi)    “[T]he College will act using the educational lens of Title IX.” Id.

       (vii)   “[T]he College is committed to ensuring that all reports are referred to the Title IX
               response team to ensure consistent application of the policy to all individuals and
               allow the College to respond promptly and equitably.” Id. at p. 9 (emphasis added).

       (viii) “Resources are available for students, staff, and faculty, whether as Complainants,
              Respondents, or witnesses to provide guidance throughout the investigation and
              resolution of the complaint.” Id. at p. 10.

       (ix)    “In any report, investigation, or resolution of a report under this policy, every effort
               will be made to protect the privacy interests of all individuals involved.” Id.

                                                  6
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 7 of 63




       (x)      “Privacy means that information related to a report under this policy will only be
                shared with those who ‘need to know’ in order to assist in the review, investigation
                or resolution of the report.” Id.

       (xi)     The Sexual Misconduct Policy defines “Non-consensual Sexual Intercourse” as
                “[h]aving or attempting to have sexual intercourse or sexual contact with another
                individual without consent. Sexual intercourse includes vaginal or anal penetration,
                however slight, with a body part or object, or oral copulation by mouth-to-genital
                contact.” Id. at p. 16.

       23.      With respect to handling reports of sexual misconduct, the Sexual Misconduct

Policy states that the “College will approach the assessment of each report with an earnest intent

to understand the perspective and experience of each individual involved in order to ensure fair

and impartial evaluation and resolution.” Id. at p. 29. “Choosing to make a report, and deciding

how to proceed after making the report, can be a process that unfolds over time.” Id. The

“Complainant can help set the pace and make decisions about how best to proceed.” Id. at p. 30

(emphasis added).

       24.      “The College does not limit the timeframe for reporting.” Id. at p. 32. Moreover,

“A Complainant’s belief that there may be a lack of corroborating evidence or ‘proof’ should not

discourage them from reporting Prohibited Conduct under this policy…as College investigator(s)

receive specific training in the dynamics of sexual misconduct and the investigation of Prohibited

Conduct.” Id.

       25.      The Sexual Misconduct Policy sets forth a process through which sexual

misconduct complaints are formally investigated and adjudicated, known as formal resolution:

       (i)      An initial assessment and resolution process are overseen by the Senior Official,
                defined as the Dean of Students. The Dean of Students, in consultation with the
                Title IX Coordinator will determine whether a report should be informally or
                formally resolved. Id. at p. 35. The initial assessment includes “explicit
                consideration of a Complainant’s requested course of action.” Id. at p. 36. A
                respondent is not notified unless and until actions taken by the College will impact
                the respondent. Id. at p. 37.

                                                 7
Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 8 of 63




(ii)    Protective and remedial measures may be issued, to respond to “immediate health
        and safety concerns.” Id. Interim protective measures must be “reasonable and
        appropriate” and “designed to eliminate the reported hostile environment.” These
        measures include “remedial” measures meant to “address the Complainant’s well-
        being and continued access to educational and employment opportunities” and
        “protective” measures involving “action against a Respondent.” Protective
        measures include “[a]n interim suspension, ban or paid/unpaid leave pending the
        outcome of a conduct proceeding” and changing the respondent’s course schedule,
        work schedule or campus housing.

(iii)   The College will maintain “consistent contact with the parties to ensure that all
        safety and emotional and physical well-being concerns are being addressed.” Id. at
        p. 39.

(iv)    The College seeks to resolve all reports of Prohibited Conduct within 60 calendar
        days of the initial report or Notice of Investigation. This timeframe can be extended
        with good cause, but only upon written notice to the parties of the delay and the
        reason for the delay. Id. at p. 41.

(v)     When the College initiates an investigation, the Senior Official will issue a written
        Notice of Investigation which will include the “names of the parties, a brief
        description of the alleged conduct and the potential policy violations.” Id. at p. 44.

(vi)    The College will appoint a “trained investigator or investigators to conduct a
        prompt, equitable, thorough and impartial investigation of reports of Prohibited
        Conduct.” “The investigation is designed to provide a fair and reliable gathering of
        facts. Information gathered during the review or investigation will be used to ensure
        the safety of the Complainant and the College campus community.” Id. at p. 44.

(vii)   The investigator(s) are tasked with composing a chronology of events and preparing
        a written report documenting the complete investigation. Id. at p. 45.

(viii) “The Complainant and Respondent will have an equal opportunity to be heard, to
       submit information, to ask and respond to questions of the other party through the
       investigator, and to identify witnesses who may have relevant information. Both
       parties will also have equal and timely access to information that will be used in
       the adjudication of the report, and timely notice of meetings or proceedings at
       which their presence will be required or requested.” Id.

(ix)    “Witnesses must have observed the acts in question or have information relevant to
        the incident and cannot be participating solely to speak about an individual’s
        character…. Witnesses will not be called to meet with the adjudicator.” Id. Any
        student or faculty witness who refuses to cooperate may be subject to sanction. Id.



                                          8
Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 9 of 63



(x)     “The prior sexual history of the Complainant or Respondent will never be used as
        evidence of character or reputation.” Id. at p. 46.

(xi)    “Where a sufficient informational foundation exists for prior sexual history or
        pattern evidence, the investigator(s), in consultation with the Title IX Coordinator
        or Deputy Coordinator for Case Management, will assess the relevance, form and
        reliability of the information and determine if it is appropriate for inclusion in the
        written investigation report for consideration by the adjudicator in determination of
        responsibility and/or assigning of any sanction.” Id. at p. 46.

(xii)   “The determination of relevant pattern evidence will be based on an assessment of
        whether the previous or subsequent conduct was substantially similar to the conduct
        under investigation or indicates a pattern of similar prohibited conduct.” Id. at p.
        46.

(xiii) “The Dean of Students, in consultation with the investigator(s) and Title IX
       Coordinator or Deputy Coordinator for Case Management, has the discretion to
       consolidate multiple reports against a Respondent into one investigation and
       resolution if the evidence related to each incident would be relevant and probative
       in reaching a determination on the other incident. Matters may be consolidated
       where they involve multiple Complainants.” Id. at p. 47.

(xiv)   “Information that is irrelevant, more prejudicial than probative, or immaterial may
        be redacted” from the investigation report. Id.

(xv)    “The purpose of the investigation is to gather facts that may help establish whether
        there is a reasonable basis for concluding that it is more likely than not the alleged
        violation of this policy has occurred.” Id.

(xvi)   At the conclusion of the investigation, the investigator(s) issue a preliminary
        investigation report, which may be reviewed by the Complainant and Respondent.
        The Complainant or Respondent may provide comments, propose questions for the
        investigator(s) to ask the other party, or identify additional witnesses or sources of
        evidence within five (5) business days after receipt of the preliminary report. Id.

(xvii) A final investigation report is then issued, which serves as the basis for
       adjudication. A single adjudicator—the Dean of Students, College administrator,
       or “trained individual external to the College”—determines responsibility by a
       preponderance of the evidence whether there was a violation of “conduct standards
       or policy.” Id. at p. 48.

(xviii) The Dean of Students will email information to the Complainant and Respondent
        about the adjudication process, the date, time and place of the meeting and the name
        of the adjudicator. Id. at pp. 48-49. The College “may engage an outside individual
        or firm (typically experienced judges trained in the intricacies of Title IX) to


                                          9
Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 10 of 63



         adjudicate cases of sexual assault or other forms of Prohibited Conduct as needed.”
         Id. at p. 49.

 (xix)   “The adjudication meeting is not intended to be adversarial; rather it is intended to
         be educational, corrective, and developmental.” Id. at p. 50. Yet, at the adjudication
         meeting, the Respondent is required to enter a “plea” of responsible or not
         responsible for each “charge.” Id. at 50. The adjudicator, frequently a judge, is
         tasked with recommending sanctions for policy violations, including suspension or
         dismissal from the College. Id. The Sexual Misconduct Policy also provides that
         College counsel may be present at the adjudication meeting. Id. at p. 49.

 (xx)    “The adjudicator is required to review all pertinent information regarding the
         incident, including written statements, the investigation report, documents, items,
         and/or oral information from the Complainant(s), Respondent(s), and witnesses
         prior to the adjudication meeting(s).” Id.

 (xxi)   The adjudicator meets separately with a “member of the investigation team,” the
         Complainant and the Respondent. Id. The Respondent may not participate in the
         Complainant’s adjudication meeting, nor is there an opportunity for Respondent to
         submit questions to the adjudicator to be asked of the Complainant and, thus, no
         form of cross-examination. The adjudicator is solely responsible for determining
         responsibility.

 (xxii) The Respondents, even if asserting defenses to the allegations, is required to submit
        a “mitigation statement” to the adjudicator, before any decision is made as to
        responsibility. Id. at 51. The Complainant is also required to submit an “impact
        statement” before any decision is made. Id. at 50.

 (xxiii) At the adjudication meeting, the Complainant “if they wish” may present their own
         account of the events in a narrative format. Id. at 50. In contrast, the Respondent
         “will be given an opportunity, and is encouraged, to present their response” to the
         “charges” against them. Id. at 51.

 (xxiv) After the adjudicator meets with the investigator, Complainant and Respondent, the
        adjudicator “must reach a decision on responsibility by using the preponderance of
        evidence. This means that the adjudicator will decide whether it is ‘more likely than
        not,’ based upon the information provided through the investigation and at the
        adjudication meeting(s), that the Respondent is responsible for the alleged
        violation(s).” The findings are then documented in a case opinion, issued to both
        Complainant and Respondent, within five (5) business days of completion of the
        meetings.

 (xxv) If the adjudicator finds a student responsible for sexual misconduct, they will
       recommend sanctions to the Dean of Students (or designee). The Dean of Students
       is not bound by the recommendations of an external adjudicator and has the “final
       authority to impose appropriate educational outcomes.” Id. at 52.

                                          10
       Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 11 of 63




        (xxvi) A student found responsible for Non-Consensual Sexual Intercourse will “typically
               receive educational outcomes (sanctions) of suspension or dismissal, including a
               ban from campus.” Id. at 52. Affirmative findings of responsibility in matters
               resolved by formal resolution become part of a student’s permanent conduct record.
               Id.

        (xxvii) The Complainant and Respondent may appeal the outcome within five (5) business
                days of receiving notice of the outcome. Id. at p. 54. The only grounds for appeal
                are (i) new evidence and (ii) procedural errors that had a material impact on the
                outcome. Id. at 54. The burden of proof lies with the appellant and “the original
                determination and educational outcomes (sanctions) are presumed to have been
                decided reasonably and appropriately.” Id. at p. 55.

        (xxviii)The appeal officer designated for student appeals is the Assistant Vice President of
                Student Affairs. Id. at 54. If the appeal officer “has been involved in the conduct at
                issue in the complaint/grievance, or if the individual was consulted about the
                conduct at issue in the complaint/grievance, then the Title IX Coordinator will
                direct the appeal to another” appeal officer. Id. The appeal officer is designated as
                an “impartial decisionmaker.” Id.

        (xxix) The appeal officer has ten (10) business days to decide and communicate the results
               of the appeal. Id. at 55. Appeal decisions are final. Id.

III.    The Definition of Consent Under Grinnell’s Sexual Misconduct Policy

        26.      The Sexual Misconduct Policy is based on “affirmative consent.” “Consent to

engage in sexual activity must be given knowingly, voluntarily, and affirmatively. Consent to

engage in sexual activity must exist from the beginning to the end of each instance of sexual

activity and for each form of sexual contact. Consent is demonstrated through mutually

understandable words and/or clear unambiguous actions that indicate a willingness to engage

freely in sexual activity.”

        27.      The Sexual Misconduct Policy further states as follows:

              a. Each participant in a sexual encounter is expected to obtain and give consent to
                 each act of sexual activity. Consent to one form of sexual contact does not constitute
                 consent to engage in all forms of sexual contact.

              b. Consent consists of an outward demonstration indicating that an individual has
                 freely chosen to engage in sexual activity. Relying on non-verbal communication

                                                   11
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 12 of 63



                can lead to misunderstandings or potential policy violations. Consent may not be
                inferred from silence, passivity, lack of resistance, or lack of an active response
                alone. A person who does not physically resist or verbally refuse sexual activity
                cannot be assumed to be giving consent.

             c. If at any time it is reasonably apparent that either party is hesitant, confused or
                unsure, both parties should stop, decide whether to continue, and obtain mutual
                verbal consent before continuing such activity.

             d. Consent may be withdrawn by either party at any time. Withdrawal of consent must
                also be outwardly demonstrated by mutually understandable words or clear,
                unambiguous actions that indicate a desire to end sexual activity. Once withdrawal
                of consent had been expressed, sexual activity must cease.

When evaluating consent “the College will consider the objectively apparent indications of

consent (or lack of consent) from a reasonableness perspective.” Id. at pp. 19-20 (emphasis added).

IV.    Plaintiff’s Interactions With Jane Doe

       28.      Plaintiff met Jane Doe in Fall 2015, when he was a sophomore and she was a first-

year student. They took one class together.

       29.      In September 2015, the two became better acquainted when they met at an on-

campus party and talked at the party and afterwards.

       30.      On the day after the party, Plaintiff and Jane Doe studied together during the day.

In the evening hours of September 19, 2015 Jane Doe visited Plaintiff’s dorm room where the two

kissed and “made out” on Plaintiff’s bed, fully clothed, with the lights off. While kissing, Plaintiff

touched Jane Doe’s breasts over her clothes. Jane Doe told Plaintiff that she was uncomfortable

with him touching her breasts and he stopped. Shortly thereafter, Jane Doe said that she wasn’t

feeling well and he walked her home.

       31.      After this encounter, Plaintiff and Jane Doe exchanged a few text messages and

their communication fizzled out. Plaintiff also dropped the class the he and Jane Doe had been

taking together for reasons unrelated to Jane Doe.


                                                 12
       Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 13 of 63



V.      The False Allegations Against Plaintiff

        32.      In early February 2018, Plaintiff learned from a fellow member of his sports team

that it was rumored that a female student, also a member of the team, had filed a Title IX complaint

against Plaintiff on behalf of another female student (“Student A”). Plaintiff also learned that

Student A did not believe that a Title IX complaint against Plaintiff was warranted and did not

want it filed. Plaintiff spoke to his coach, a female, about the issue, who then called the College’s

Title IX Coordinator, Bailey Asberry (“Ms. Asberry”). Plaintiff’s coach refused to relay the details

of her conversation to Plaintiff, but confirmed that no member of team had filed a complaint

against Plaintiff.

        33.      Shortly after, on February 2, 2018, Ms. Asberry called Plaintiff to arrange a meeting

about a “Title IX complaint.” Plaintiff’s coach cautioned him not to bring anyone to the meeting

with him since Ms. Asberry was only going to provide him with information to clear things up.

She encouraged him not to bring a support person to the meeting. Plaintiff thought this advice to

be suspect, and brought Rabbi Rob Cabelli 3 to the meeting as a support person.

        34.      At the meeting, Ms. Asberry told Plaintiff that there were two Title IX complaints

against him, one was “anonymous,” the other was brought by Jane Doe. Ms. Asberry told Plaintiff

that he was under investigation for one count of non-consensual sexual intercourse and would be

contacted by the investigator.

        35.      In a subsequent phone call, Ms. Asberry told Plaintiff’s father that a formal

investigation had been opened because the anonymous complaint, coupled with the Jane Doe

complaint, constituted a pattern of behavior. However, prior to sitting with the College’s Title IX



3
  Rabbi Cabelli, who served as a support person for male respondents in a number of Title IX cases, and is believed
to have disagreed with the manner in which male respondents were being treated by Grinnell, suddenly left the College
in August 2018.

                                                        13
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 14 of 63



investigator, Plaintiff was told that Grinnell was not pursuing the anonymous complaint and that

he would not be asked about it during any interviews.

       36.     Upon information and belief, Ms. Asberry and Ms. Moschenross bolstered Jane

Doe’s weak complaint with the anonymous complaint in order to open an unwarranted, formal

investigation against Plaintiff.

       37.     Later, the Title IX investigator did, in fact, question Plaintiff about the anonymous

complaint. This information was included in the investigation report later provided to Justice

Ternus even though the College had represented to Plaintiff that it was not pursuing the anonymous

complainant.

       38.     In early February 2018, at around the same time as she alleged a Title IX complaint

against Plaintiff, Jane Doe filed a group Title IX complaint against a male Grinnell professor who

allegedly engaged in sexual or gender-based harassment in the classroom setting. The claims were

made public, including false allegations that the professor had been terminated as a result of the

complaint, and that he had engaged in sexual harassment on a number of prior occasions. While

Grinnell administrators publicly acknowledged the falsity of certain of the allegations, they

supported the right of Jane Doe, and her fellow complainants, to speak their truth and deemed the

allegations to be “newsworthy.”

       39.     It was not until he sat for an interview with Grinnell’s Title IX investigator, an

attorney from the law firm of Husch Blackwell, that Plaintiff learned the specifics of Jane Doe’s

allegations. Significantly, Plaintiff also learned that Jane Doe had first made the allegations against

someone else, whose name she used during her interview with the Title IX investigator. This was

not questioned.




                                                  14
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 15 of 63



       40.     Jane Doe alleged that, in September 2015—over two years prior to her coming

forward—she and Plaintiff were making out in his room, fully clothed and that she became

uncomfortable as the encounter allegedly progressed. She acknowledged that she consented to

kissing Plaintiff and that he touched her breasts, which was consensual. Jane Doe alleged that

during the encounter, Plaintiff toucher her upper thighs and attempted to put his fingers into her

shorts. She also said that at some point Plaintiff succeeded in putting his fingers into her shorts,

and inserted a finger into her vagina.

       41.     Jane Doe told investigators that she did not tell Plaintiff to stop the allegedly

objectionable activity at any point in time. Instead, she told the investigator that Plaintiff should

have figured out that she did not consent to the activity by her facial expressions. However, the

room was dark.

       42.     Jane Doe alleged that, on the day after she was allegedly sexually assaulted, she

returned to Plaintiff’s dorm room. During this visit, she and Plaintiff consensually kissed for a few

minutes and then he walked her home. Shortly after that, Plaintiff dropped out of the class that the

two were taking together for reasons unrelated to Jane Doe.

       43.     Plaintiff denied that he did anything but kiss Jane Doe and touch her breasts, over

her clothes, on the evening in question.

VI.    The Flawed and Biased Title IX Proceedings Against Plaintiff

       44.     The proceedings against Plaintiff were flawed from start to finish, beginning with

the College’s decision to open a formal investigation into Jane Doe’s false allegations against

Plaintiff because: (i) Jane Doe named a person other than Plaintiff as the individual responsible

for engaging in nonconsensual sexual intercourse with her; (ii) Jane Doe’s allegations dated back

over two (2) years prior to the time she reported them to the Title IX Coordinator; (iii) Jane Doe



                                                 15
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 16 of 63



was, upon information and belief, close friends with another Title IX complainant who previously

lodged false allegations, and a public smear campaign, against Plaintiff’s roommate; and (iv) Jane

Doe made contemporaneous allegations of sexual harassment against a male professor.

       45.      Plaintiff’s case was not resolved within 60 calendar days. Nor was he given any

written notice as to the reason for the delay. See Sexual Misconduct Policy, at p. 41.

       46.      Ms. Moschenross was, as the Dean of Students, responsible for determining

whether the allegations against Plaintiff should be formally investigated, taking into consideration

the “complainant’s explicit wishes.” Id. at p. 36. Ms. Moschenross also had the conflicting role of

determining the sanctions imposed on Plaintiff. Id. at p. 52.

       47.      Ms. Moschenross is demonstrably biased against males, as shown in posts on her

social media accounts:

             a. A tweet posted on 4/4/17 states that “[I]n Virginia, on average a woman would have
                to work until she is 71 years old to make what a man makes by the time he is 60.”

             b. On 4/11/17 Ms. Moschenross tweeted that “[w]omen on average have to work until
                today…to earn what men earned by December 31, 2016.”

             c. On 4/19/17, with respect to an article about presidential candidate Bernie Sanders
                in The Washington Post, Ms. Moschenross tweeted, “[y]es because what we’ve
                been lacking is another old white man that helped keep us from breaking down new
                barriers. No thanks.”

             d. Two posts on Ms. Moschenross’ Twitter account, dated 11/29/17 and 2/28/18,
                praise the fact that a number of famous men lost their jobs as a result of sexual
                harassment allegations, without formal adjudications finding them guilty of any of
                the accusations.

             e. On February 28, 2018, Ms. Moschenross posted an article about a sexual
                harassment case against Harvard in which the alleged victim of sexual harassment,
                a female professor, had to leave while the alleged harasser stayed. The article
                questioned whether the case caused other women not to come forward. Ms.
                Moschenross noted the article was “an important message for those of us doing
                Title IX work…a school invested in social justice may still have an opportunity to
                provide it for these women.”


                                                16
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 17 of 63



             f. On Pinterest, Ms. Moschenross posted, “We are the granddaughters of all the
                witches you were never able to burn.”

             g. On Pinterest, Ms. Moschenross posted, “I’m a feminist. I’ve been female for a long
                time. I’d be stupid not to be on my own side.”

Plaintiff notified the College about these biased posts. In response, Ms. Moschenross made her

social media accounts private. The College did not remove Ms. Moschenross from Plaintiff’s case.

In fact, she has served as a decisionmaker in the majority of cases adjudicated at Grinnell, including

Grinnell 1 and Grinnell 2.

       48.      In conducting an initial assessment of Plaintiff’s case, neither Ms. Moschenross nor

Ms. Asberry questioned the staleness of Jane Doe’s allegations, nor, upon information and belief,

that Jane Doe initially named someone else as the individual who allegedly sexually assaulted her.

Neither Ms. Moschenross nor Ms. Asberry questioned the timing of the allegations against

Plaintiff, which were contemporaneous to Jane Doe’s allegations against a male professor.

       49.      Throughout the Title IX process, Ms. Asberry and Ms. Moschenross acted without

concern for Plaintiff’s well-being. Sexual Misconduct Policy, at p. 39.

       50.      Throughout the Title IX process, Plaintiff was reassured that the process was meant

to be educational and that the outcome of his case would not be severe.

       51.      The Title IX investigator assigned to Plaintiff’s case failed to conduct “an equitable,

thorough and impartial investigation” designed to “provide a fair and reliable gathering of facts”

because:

             a. He asked Plaintiff about the anonymous complaint and, upon information
                and belief, included information about it in the investigation report provided
                to the adjudicator, Justice Ternus.

             b. He failed to ask Jane Doe questions which challenged her credibility or
                contradicted her account of what occurred. For example, Jane Doe alleged
                that Plaintiff should have been able to read her body language to know that
                she did not consent to digital penetration. The investigator did not ask her

                                                  17
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 18 of 63



                whether the lights in the room were on or off at the time of her encounter
                with Plaintiff.

             c. He failed to question witnesses identified by Jane Doe because she asked
                the investigator not to. For example, Jane Doe allegedly told a boyfriend
                about what happened with Plaintiff. She asked the investigator not to
                contact him, to which he said he “understood.”

       52.      Plaintiff did not have an “equal opportunity to be heard,” as required by Grinnell

policy (Sexual Misconduct Policy, at p. 45), because:

             a. he was not fully apprised of the allegations against him until he was interviewed by
                Husch Blackwell;

             b. Grinnell elected to investigate allegations that were over two years old, Plaintiff
                was unable to gather certain evidence in support of his defense such as old text
                messages;

             c. the burden of proof was placed on Plaintiff to prove that he did not sexually assault
                Jane Doe;

             d. Plaintiff had no means through which to confront his accuser, including no right of
                cross examination and no right to participate in Jane Doe’s adjudication meeting
                with Justice Ternus;

             e. Plaintiff was not given the opportunity to review the preliminary investigation
                report, provide comments to same or pose questions to Jane Doe (see also Sexual
                Misconduct Policy, at p. 47); and

             f. during his “adjudication” meeting, Justice Ternus took an adversarial, aggressive
                position towards Plaintiff while she acted sympathetic and encouraging towards
                Jane Doe, engaging in more of an interview, and failing to ask Jane Doe any
                questions which challenged her credibility.

       53.      Upon information and belief, irrelevant and prejudicial information, including the

anonymous complaint and allegations about Plaintiff’s character, reputation and sexual history,

were included in the investigation report provided to Justice Ternus.

       54.      Upon information and belief, Justice Ternus did not meet with the Title IX

investigator prior to Plaintiff’s adjudication meeting. See Sexual Misconduct Policy, at p. 49.



                                                 18
       Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 19 of 63



        55.    Upon information and belief, Justice Ternus provided written recommendations to

Ms. Moschenross concerning her decision in Plaintiff’s case. Plaintiff was not provided with a

copy of these recommendations.

VII.    Justice Ternus’ Erroneous Finding

        56.    Plaintiff met with Justice Ternus on April 6, 2018. During the meeting, Justice

Ternus seemed unconcerned about the potential impact of Jane Doe’s allegations on Plaintiff’s

academic career and future.

        57.    In contrast to the sympathetic and friendly tone that Justice Ternus exercised

towards Jane Doe, her demeanor towards Plaintiff was harsh.

        58.    When Plaintiff told Justice Ternus that Jane Doe had a propensity for dishonesty,

and pointed to her contemporaneous allegations against the Grinnell professor, Justice Ternus was

taken aback that Plaintiff would question Jane Doe’s credibility.

        59.    Justice Ternus failed to question why Jane Doe initially identified someone else as

responsible for allegedly sexually assaulting her.

        60.    Justice Ternus failed to question Jane Doe about her contemporaneous allegations

against the Grinnell professor.

        61.    Justice Ternus failed to question Jane Doe about why she waited over two years to

file a Title IX complaint against Plaintiff.

        62.    Justice Ternus failed to question Jane Doe about why she purportedly returned to

Plaintiff’s dorm room on the day after she was allegedly sexually assaulted.

        63.    Subsequent to her meeting with Plaintiff, and without any follow up questions to

Jane Doe, Justice Ternus found Plaintiff responsible for non-consensual sexual intercourse. This




                                                19
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 20 of 63



decision was based solely on Jane Doe’s account that Plaintiff digitally penetrated her while she

had shorts on, despite Plaintiff’s denial that any such activity occurred.

       64.     Justice Ternus found that Plaintiff violated Grinnell’s Sexual Misconduct Policy

because he did not obtain Jane Doe’s consent to engage in digital penetration. Yet by both

Plaintiff’s and Jane Doe’s account of what happened, Plaintiff had consent for kissing Jane Doe

and touching her breasts over her clothes. Putting aside that Plaintiff denied that digital penetration

occurred, it would have been up to Jane Doe to withdraw consent for additional activities. Under

the Sexual Misconduct Policy’s definition of consent, which Justice Ternus ignored:

       Consent may be withdrawn by either party at any time. Withdrawal of consent must
       also be outwardly demonstrated by mutually understandable words or clear,
       unambiguous actions that indicate a desire to end sexual activity. Once
       withdrawal of consent has been expressed, sexual activity must cease. Id. at pp. 19-
       20 (emphasis added).

Per Jane Doe’s own statements, she never said no or otherwise verbalized that she did not consent

to additional sexual activity with Plaintiff, and she took no action that indicated that she did not

consent.

       65.     Jane Doe asserted, and apparently Justice Ternus believed, that Plaintiff should

have figured things out from her body language and facial expressions—yet, as Plaintiff reported

during the investigation, the lights were out during the encounter in question. Moreover, this is not

the applicable standard under Grinnell’s definition of consent.

       66.     In finding Plaintiff responsible for non-consensual sexual intercourse—which

carried the likely sanction of suspension or dismissal from the College, and a campus ban (Sexual

Misconduct Policy at p. 52)—Justice Ternus was supposed to examine whether there was consent

“using objectively apparent indications of consent (or lack of consent) from a reasonableness

perspective.” Id. at pp. 19-20 (emphasis added). Based on Jane Doe’s own statements, and



                                                  20
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 21 of 63



assuming that digital penetration occurred (it did not), there were no objectively apparent

indications that Plaintiff would have been aware that he did not have consent to engage in sexual

activity with Jane Doe.

       67.     That Justice Ternus found Plaintiff responsible, despite no evidence to support the

finding, demonstrates that she: failed to apply the preponderance of the evidence standard; simply

presumed that Jane Doe was more credible; and placed the burden on Plaintiff to obtain consent

from Jane Doe when the Sexual Misconduct Policy placed the burden on Jane Doe to withdraw

consent.

       68.     Justice Ternus’ decision was, upon information and belief, influenced by her

outdated and discriminatory views about the passivity, and lack of autonomy, which females

exhibit during sexual encounters—views Justice Ternus has propounded in other cases that she

adjudicated, as set forth below.

VIII. The Unduly Severe and Unwarranted Sanctions Imposed on Plaintiff

       69.     By letter dated April 19, 2018, Ms. Moschenross notified Plaintiff that he was found

responsible for non-consensual sexual intercourse. No basis was provided for the finding or the

resulting sanctions that Ms. Moschenross elected to impose.

       70.     Though Plaintiff was approximately one month away from graduation

Moschenross immediately banned him from campus (he had 48 hours to leave even though his

family was located in a different state)—before his submission of any appeal—and precluded him

from walking at graduation. The ban remained in effect until after Jane Doe graduated.

       71.     At the time that Ms. Moschenross imposed the immediate ban, Plaintiff had a

broken hand, which he injured in the course of a campus job working for the College. Plaintiff’s

hand was in a cast and he could not drive. Plaintiff’s father had to implore the College to give him



                                                21
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 22 of 63



24 hours so that he could come to Grinnell from outside the state to assist Plaintiff in leaving

Grinnell. Plaintiff was also unable to follow up with his surgeon, who was located in Iowa, after

being forced to leave the College and return to his home state of Tennessee.

        72.     Plaintiff was permitted to finish his coursework for the last semester remotely, but

Moschenross issued a one-year suspension, such that Plaintiff’s receipt of his Bachelor’s degree

was deferred until May 2019. In actuality, Plaintiff did not receive his degree until he requested it

from the College’s Registrar in December 2019.

        73.     Ms. Moschenross’ outcome letter referred to “the health and personal safety” of

members of the Grinnell community. However, Plaintiff posed no threat to Jane Doe, as evidenced

by the fact that the two coexisted on campus together for over two years without incident before

she decided to file the Title IX complaint. There was simply no reason to punish Plaintiff so

severely, particularly since, as discussed supra, there was no evidence of a policy violation in

Plaintiff’s case.

        74.     It is clear that, in determining the sanctions, Ms. Moschenross gave no

consideration to the impact of separating Plaintiff from his education, nor was the sanction

proportionate to the violation, as required by Title IX guidance. Of paramount consideration to

Ms. Moschenross was Jane Doe’s purported need to be away from Plaintiff until she graduated in

May 2019.

        75.     Ms. Moschenross’ punitive approach to sanctioning Plaintiff was also, upon

information and belief, influenced by her discriminatory views of men and, in particular, men

accused of sexual misconduct. See supra Paragraph 47.

        76.     To the extent that Ms. Moschenross merely followed Justice Ternus’ sanctioning

recommendation, that recommendation was tainted with Justice Ternus’ gender-biased views.



                                                 22
       Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 23 of 63



        77.      As a result of the sanctioning decision, Grinnell maintains a permanent disciplinary

record as part of Plaintiff’s education records indicating that he was suspended for Title IX

violations, even though the College elected not to mark his transcript. This means that, upon

Plaintiff signing a release under the Family Educational Rights and Privacy Act (“FERPA”),

Grinnell will release this conduct record and, potentially, the Title IX file to third parties. Plaintiff

will need to sign such a release in order to attend graduate school, in order to pursue certain

employment, and in the event that he ever needs to obtain security clearance for a chosen job.

IX.     Andrea Conner Denies Plaintiff’s Appeal

        78.      Plaintiff timely submitted an appeal to Ms. Conner, the Associate Vice President of

Student Affairs. 4 According to Plaintiff’s appeal, he was:

              a. deprived of a fair and impartial resolution of Jane Doe’s complaint, on the grounds
                 that Justice Ternus and Ms. Moschenross were gender-biased and, at all times acted
                 in favor of Jane Doe;

              b. the sanctions issued by Ms. Moschenross were disproportionate and intentionally
                 punitive;

              c. Justice Ternus’ findings, and the outcome ignored the definition of consent stated
                 in Grinnell’s Sexual Misconduct Policy and misapplied the relevant consent
                 standard;

              d. the Title IX investigation was not conducted in a timely manner;

              e. the outcome letter provided inadequate notice to Plaintiff of the rationale behind
                 the finding of responsibility and sanctions;

              f. Grinnell violated his right to privacy and attempted to prevent him from exercising
                 his right to support during the initial Title IX meeting;

              g. Plaintiff was denied his right to a fair adjudication, including the right to be heard
                 by an impartial decisionmaker and to confront his accuser;


4
 Ms. Conner left Grinnell on June 29, 2018. She started a position as Vice President of Student Affairs and Dean of
Students at Lake Forest College in July 2018. Ms. Conner decided—and denied—the appeals in Grinnell 1 and
Grinnell 2. See Grinnell 1, SJ Op. at pp. 17-18; Grinnell 2, Compl. ¶¶ 201-205. Ms. Moschenross was promoted to
Ms. Conner’s position upon Ms. Conner’s departure from Grinnell.

                                                        23
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 24 of 63



              h. the evidence did not support the finding that Plaintiff violated the Sexual
                 Misconduct Policy;

              i. the Title IX process at Grinnell is inherently biased against men, improperly shifts
                 the burden of proof to the male accused, and fails to provide male respondents with
                 equal support and resources;

              j. Grinnell’s investigation of a complaint that was over two years old—and initially
                 directed at a different person—supported Plaintiff’s claim of gender bias in the
                 process; and

              k. Ms. Moschenross’ meeting with Jane Doe as part of the “initial assessment”
                 process, conflicting role as the party responsible for determining sanctions, and
                 demonstrable gender bias (as indicated in her social media posts) tainted the process
                 with gender bias.

        79.      Ms. Conner, as Associate Vice President of Student Affairs, was responsible for

deciding Plaintiff’s appeal on one of two grounds: i) new evidence and ii) procedural error(s) that

had a material impact on the outcome. Sexual Misconduct Policy at p. 54. Per the Sexual

Misconduct Policy, Ms. Conner was to be impartial and was solely responsible for evaluating, and

deciding, the appeal. Ms. Conner had the authority to affirm the original findings, alter the findings

and/or alter the sanctions. Id. at p. 55.

        80.      Ms. Conner was not an impartial appeal officer. She believes that all sexual

misconduct cases began with dismissal as an outcome. This shows a built-in implicit bias which

the law precludes.

        81.      Ms. Conner participated in meetings with campus activist group Dissenting Voices,

discussed below, and worked on changing the Sexual Misconduct Policy, to, in part, satisfy the

group’s demands. Ms. Conner also worked on revising the Sexual Misconduct Policy which

removed the right of cross-examination, and to a hearing, from the sexual misconduct process.




                                                  24
         Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 25 of 63



           82.      Ms. Conner believes that students found responsible for violating the Sexual

Misconduct Policy should have to explain those violations to graduate schools and/or employers

for the rest of their lives.

           83.      While the appeal officer at Grinnell, Ms. Conner also believed that she was

permitted to take actions that were not written in the College’s Sexual Misconduct Policy and of

which students would not have been on notice.

           84.      Upon information and belief, as she had in other cases such as Doe v. Grinnell, 5

Ms. Conner invited Justice Ternus to review Plaintiff’s appeal and to offer her comments to same.

This infected the process with the same gender bias that was present in the adjudication process

and also violated the Sexual Misconduct Policy.

           85.      Upon information and belief, Ms. Conner relied on at least some of Justice Ternus’

comments when drafting the appeal outcome letter in Plaintiff’s case, if not copying and pasting

Ternus’ comments verbatim. It is, accordingly, no surprise that Ms. Conner denied Plaintiff’s

appeal.

           86.      Upon information and belief, Ms. Conner also relied on Grinnell’s Title IX counsel

to draft her response to Plaintiff’s appeal. Apparently, the process permits more professional legal

assistance to the prosecution of allegations of sexual misconduct than it permits to respondents

accused of sexual misconduct.

           87.      Unsurprisingly, as she had in other cases, Ms. Conner denied Plaintiff’s appeal. Her

letter was replete with hostility towards Plaintiff:

                 a. She dismissed Plaintiff’s assertion that he was denied a fair and impartial resolution
                    as mere opinion, noting “your opinions are not relevant to this appeal.”

                 b. She rejected Plaintiff’s assertion that the sanctions imposed were punitive rather
                    than educational, stating “it can feel punitive to be held accountable for one’s own

5
    Grinnell 1, Doc. No. 129-1, at pp. 27-29; Order, July 9, 2019, Doc. No. 151, at pp. 17-18.

                                                           25
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 26 of 63



                behavior with outcomes that create discomfort, inconvenience, or even disruption
                to one’s educational trajectory.”

             c. With respect to Plaintiff’s assertion that Justice Ternus misapplied the Sexual
                Misconduct Policy’s definition of consent, particularly with respect to withdrawal
                of consent, Ms. Conner exhibited bias towards Plaintiff and overlooked that Jane
                Doe was obligated to withdraw consent under the Sexual Misconduct Policy:

                    I am sorry to hear that you still have uncertainties about when your
                    sexual partners are or are not consenting. In our policy, we require
                    affirmative consent for each act. If you had consent for kissing, you
                    also needed consent for additional sexual activity, meaning your
                    partner had no obligation to verbalize her withdrawal of consent; on
                    the contrary, you needed to obtain consent for the additional activity.

             d. With respect to the inclusion of the anonymous complaint in the Jane Doe
                investigation, Ms. Conner encouraged Plaintiff “to raise this concern with the Title
                IX office, as I know they are deeply committed to always improving their work.”

             e. With respect to the possibility that Justice Ternus made an incorrect finding that
                Jane Doe was more credible, Ms. Conner replied “We have confidence in our
                adjudicator (our trained adjudicator is a former Iowa Supreme Court Chief
                Justice).”

             f. With respect to Jane Doe’s identification of someone other than Plaintiff as the
                perpetrator, Ms. Conner stated “by the time that the case got to adjudication—it had
                been made clear by [Jane Doe] that she was referencing you.”

       88.      Ms. Conner’s decision was final.

X.     Grinnell’s Gender-Biased Pattern of Decision Making

       A.       Grinnell Supports A Hostile Environment Towards Male Students

       89.      In 2017, prior to Plaintiff being falsely accused by Jane Doe, Plaintiff’s roommate

was also the subject of false, sexual misconduct accusations by a woman whom he briefly dated

(“Student B”). Despite a lack of any credible evidence to support the claim, and no formal

complaint or investigation, Grinnell allowed Student B to unleash a public smear campaign, on

social media and across campus, against Plaintiff’s roommate and any male student who spoke out

in support of him. The female student threatened and sexually harassed Plaintiff’s roommate. The


                                                 26
       Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 27 of 63



College took no action in response other than attempting to force Plaintiff’s roommate to withdraw

from the College.

        90.      The College also took no action to stop Student B from publicly branding a number

of male students as “rape apologists” and “sexual predators” in retaliation for their support of

Plaintiff’s roommate. One male student, a friend of Plaintiff’s, suffered panic attacks as a result of

being falsely branded as a sexual predator. He filed a complaint with the Title IX office. Nothing

was done to stop Student B.

        91.      Student B faced no discipline. On the contrary, the administration fully supported

her. Immediately after Plaintiff’s roommate left Grinnell, Plaintiff requested a no contact order with

respect to Student B because of her open hostility towards male students on campus. The request

was denied.

        92.      Immediately after Plaintiff’s roommate left Grinnell, Jane Doe, and the anonymous

complainant, falsely accused Plaintiff of sexual misconduct. Upon information and belief, Jane Doe

and the anonymous complainant were friends with Student B.

        B.       Grinnell Treats Female Respondents More Favorably
                 Than Male Respondents

        93.      Grinnell has had a number of cases in which female students were accused of sexual

misconduct and, in each case, the College and/or Justice Ternus treated the female accused more

favorably and/or more leniently than male respondents in similar circumstances:

              a. Grinnell informally resolved two, separate complaints against a female student
                 accused of nonconsensual sexual intercourse by issuing no contact orders. In
                 contrast, the College has given no leniency to male students accused of
                 nonconsensual sexual intercourse, including Plaintiff.

              b. Justice Ternus found a female student responsible for nonconsensual sexual
                 intercourse. The complainant requested that the College place a notation on the
                 respondent’s transcript. Justice Ternus refused this request because it would impede
                 the respondent’s ability to complete her educational goals, gain employment and

                                                  27
       Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 28 of 63



                 become a responsible member of the community. The College issued only a campus
                 ban as a sanction, after the adjudication process. Upon information and belief, the
                 female respondent does not have a permanent disciplinary record.

              c. Between January 1, 2014-June 30, 2018, the only cases that Grinnell informally
                 resolved and subsequently reopened for a formal resolution process involved male
                 respondents. 6


Upon information and belief, there are other cases in which Justice Ternus and/or Grinnell treated

female respondents more favorably than male respondents in circumstances similar to Plaintiff’s.

Records concerning outcomes in Grinnell’s Title IX proceedings and the gender/gender identities

of the parties involved are not publicly available and are in the exclusive possession of the College.

        C.      Justice Ternus’ Outdated and Discriminatory Views of Gender

        94.      Justice Ternus has also exhibited gender-biased assumptions when adjudicating

other, publicly available cases involving male respondents. In Grinnell 1 Justice Ternus: a)

presumed that a female who is sexually inexperienced and “naïve,” would not know how to tell

her male partner to stop sexual activity; b) found it credible that a woman who was allegedly

sexually assaulted by someone with whom she did not have a close relationship, would engage in

a second, sexual encounter with the same male because she was young, inexperienced and wanted

to make friends; c) failed to engage with evidence demonstrating that the second complainant

chose to engage in sexual activity with the respondent; d) assumed that a woman who hadn’t taken

her birth control (but asked her sexual partner to wear a condom) would not consent to sex; and e)

treated the male respondent more harshly than a respondent who was similarly charged. 7




6
  See Grinnell 1, Doc. No. 129-3, at ¶¶ 88-96; Doc. No. 136, at ¶¶ 88-96; SJ Opinion, July 9, 2019, Doc. No. 151, at
pp. 22-28.
7
  See Grinnell 1, Docket #129-1 at pp. 31-34; SJ Opinion, July 9, 2019, Doc. No. 151, at pp. 22-28.

                                                        28
       Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 29 of 63



        95.      In Grinnell 2, the Plaintiff alleged that Justice Ternus: 8 a) assumed that a woman

who is intoxicated is unlikely to be sexually aggressive, or forward; b) assumed that the fact that

a male has an erection while spooning with a female (fully clothed) undermines the male’s

credibility if he denies having a sexual interest in the female; c) assumed that a man who kisses a

woman intends to have sex with her; and d) failed to engage with a host of evidence that

contradicted the complainants’ allegations. 9

        96.      The gender bias described above remained unchecked by the procedures employed

by Grinnell in sexual misconduct cases because Ms. Moschenross, responsible for sanctioning in

Plaintiff’s case, and Ms. Conner, responsible for deciding Plaintiff’s appeal, not only held their

own biases against male students but deferred to what they believed to be Justice Ternus’ expertise

and failed to question her findings and recommendations which were, on their face, clearly open

to question.

        97.      While Justice Ternus is a well-respected jurist, she had no experience with Title IX

and limited or no experience with sexual assault cases, prior to being hired by Grinnell to serve as

its sole adjudicator. Grinnell made no efforts to research her background or experience in these

specific areas prior to hiring Justice Ternus. Because of her reputation, Ms. Moschenross and Ms.

Conner deferred to Justice Ternus in every respect.

XI.     Grinnell College’s Endorsement of A Trauma-Informed Approach to Title IX Cases

        98.      Grinnell’s Annual Title IX Report, for the 2017-2018 fiscal year, noted that Title

IX Deputy Jen Jacobsen was a contributor to the American College Health Association’s

(“ACHA”) “Addressing Sexual and Relationship Violence: A Trauma-Informed Approach”



8
  Notably, this student was expelled from Grinnell only a few months after Plaintiff was suspended, and his degree
deferred.
9
  See Grinnell 2, Compl. ¶¶ 231-233.

                                                       29
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 30 of 63



(“ACHA Report”) and that Grinnell followed this “evidence-based guidance.” As noted in the

report, one of Grinnell’s “ongoing goals” was to respond in a “trauma-informed way” to reports

of prohibited conduct.

       99.       The ACHA Report urges colleges to adopt a “trauma-informed approach,” defined

as:

       Trauma-informed approaches emphasize physical, psychological, and emotional
       safety for both providers and survivors, which allows survivors to rebuild a sense
       of safety, control, and empowerment. Trauma-informed approaches further involve
       vigilance in anticipating and avoiding institutional practices and processes that are
       likely to re-traumatize individuals with histories of trauma.

       100.      The ACHA Report defines women as a “marginalized and vulnerable population”

“at greater risk for victimization.”

       101.      The ACHA Report discusses, among other things:

             •   “Rape Culture” on college campuses, defined as “a complex of beliefs that
                 encourages male sexual aggression and supports violence against women.” Id. at
                 p. 15. “A prominent element within rape culture is the endorsement of rape myths.
                 These myths widely define ‘real rape’ as violent, physical, forced acts of sex often
                 perpetrated by strangers and met with much resistance from victims. Such myths
                 purport narratives that shift blame from the offender to the victim/survivor.”

             •   “Male Involvement With Prevention Education,” noting “sexual assault and
                 relationship violence exist in a culture that encourages men to see themselves as
                 different from and better than women. The hallmark of western masculinity is often
                 seen as power and control.” Id. at p. 17. The Report notes “many men may commit
                 a broad range of violence acts in order to procure their manhood when structurally
                 excluded from traditional male power structures due to race, ethnicity, class, sexual
                 orientation or other identities.” Id.

             •   “Sexual and relationship violence must be conceptualized as an issue of gender
                 dynamics.” Id. at 17.

             •   “Far too many men have done little more in the area of preventing sexual and
                 relationship violence than to make a personal decision to not be a rapist or violent.
                 This choice is often commended but is not sufficient.” Id.

             •   “What is often difficult is to move beyond change at the individual and
                 interpersonal level—the change in attitudes and behaviors of men towards women

                                                  30
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 31 of 63



                and others who do not conform to the dominant masculine ideal. College campuses
                are uniquely situated in that each campus can create its own culture and social
                change and broader impact can be reached.” Id. at 18.

            •   “It is recommended that these discussions of gendered power be approached
                indirectly to help minimize resistance.” Id. at 18.

            •   “It is essential to recognize that a male…who does not recognize the structural
                dimensions of masculinity and who takes for granted his structural privileges will
                likely perceive women’s empowerment as an actual loss and have a real sense of
                victimization. Being able to empathize, while not supporting the assumptions of
                men’s victimization at the hands of women’s empowerment, can help engage
                men.” Id. at 19.

            •   “Specifics for Targeting Men in Prevention of Sexual and Relationship
                Violence”—“Understand the ‘patriarchal dividend’ that may have left many men
                unaware and complicit. Additionally, many people become defensive when
                discussing issues related to privilege and have trouble seeing how they benefit
                when they are often stuck in the oppressed status of their identity.” Id.

       102.     The ACHA Report also viewed the Title IX Coordinator, as a “first responder” to

traumatized victims. Id. at p. 31.

       103.     Grinnell administrators, including those involved in Plaintiff’s Title IX

proceedings, and Justice Ternus, the external adjudicator, were trained to use a “trauma-informed”

response in sexual misconduct cases.

       104.     A central tenet of trauma-informed training is the purported “neurobiological

change” that occurs during a sexual trauma wherein the body releases a flood of chemicals that

allegedly directly affect the individual’s actions during the event as well as her memory of the

event. Thus, investigators and adjudicators are taught in trauma-informed trainings that

inconsistencies in a complainant’s story are a direct result of the trauma. Similarly, they are trained

to view those inconsistencies as a natural byproduct of sexual assault as opposed to considering

them to be indicators that the complainant’s story may lack credibility.




                                                  31
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 32 of 63



        105.      Such training has recently come under fire from scientists and courts alike. See

“Memory and Neuroscience Experts Warn Title IX Training Is Driven By Junk Science, at

https://www.thecollegefix.com/bulletin-board/memory-neuroscience-experts-warn-title-ix-

training-driven-junk-science/ (“One of the ‘self-styled experts in the neurobiology of trauma’ is

Michigan State University’s Rebecca Campbell, 10 who is not a neuroscientist and admits it’s an

‘overreach’ to use her research as gospel in Title IX investigations”); “Judge Rebukes UC Santa

Barbara     for     Using    Trauma-Informed         Approach       in   Title    IX     Proceeding”      at

https://www.thecollegefix.com/judge-rebukes-uc-santa-barbara-for-using-trauma-informed-

approach-in-title-ix-proceeding/ See also Norris v. U. of Colorado, Boulder, 2019 WL 764568 at

* 9 (D. Colo. 2019) (among other things, trauma-informed training supported plausible allegations

of gender bias in Title IX proceedings).

        106.      The Association of Title IX Administrators (“ATIXA”) recently issued a position

statement to colleges and universities warning that a complainant’s perceived trauma must not be

used as evidence that the alleged sexual misconduct has occurred. ATIXA further warned that the

improper use of trauma-informed methods, such as to interpret evidence is junk science and must

be avoided. 11

        107.      On January 25, 2018, The Scarlet & Black reported that Grinnell’s Student Health

and Counseling Services (“SHACS”) had welcomed a new group on campus. “Defining

Masculinity,” the purpose of which was, in part, to facilitate a discussion among male-identifying

students about healthy and toxic masculinity. Referencing the #metoo movement, the founder of

the group noted that masculinity can often be toxic, with men “stuck thinking/feeling/acting in


10
   Campbell’s work was cited in the ACHA report described supra Paragraphs 98-102, which Grinnell endorsed as
part of its trauma-informed approach.
11
   https://cdn.atixa.org/website-media/atixa.org/wp-content/uploads/2019/08/20123741/2019-ATIXA-Trauma-
Position-Statement-Final-Version.pdf

                                                     32
         Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 33 of 63



ways that are traditionally accepted, not representative of who we are, and that are harmful to self

and others…. [It is] absolutely imperative that male-identity groups need to address the different

factors that may perpetuate men’s physical and sexual violence.” 12 Notably, a similar group was

not offered with regard to notions of femininity, suggesting that only male-identifying individuals

need assistance with “toxic” character traits and to avoid perpetrating acts of violence against

women.

XII.       Backdrop for Gender Bias: Federal Pressure and Campus Activism

           A. The April 4, 2011 Dear Colleague Letter

           108.    On April 4, 2011, the United States Department of Education’s (“DE”) Office for

Civil Rights sent a “Dear Colleague Letter” to colleges and universities (hereinafter referred to as

the “2011 Dear Colleague Letter”).

           109.    The 2011 Dear Colleague Letter advised recipients that sexual violence constitutes

sexual harassment within the meaning of Title IX of the Education Amendments of 1972, 20

U.S.C. §1681 et seq. and its regulations, and directed schools to “take immediate action to

eliminate the harassment, prevent its recurrence and address its effects.” 2011 Dear Colleague

Letter at p. 4.

           110.    The 2011 Dear Colleague Letter responded, in part, to a special investigative report

published by National Public Radio and the Center for Public Integrity, which had proclaimed

a campus rape epidemic and criticized the OCR for its lax response to what the report

characterized as a social problem of critical importance. See http://www.npr.org/templates/story/

story.php?storyId=124001493. The report described in detail the obstacles faced by sexual assault

victims in obtaining redress though college disciplinary proceedings and how victims who did



12
     http://www.thesandb.com/article/shacs-embraces-healthy-masculinity.html

                                                        33
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 34 of 63



engage in the college disciplinary process suffered additional trauma as a result. Much of the report

focused on underreporting, re-traumatization of victims, rape myth adherence on college campuses

(e.g. that women invite rape, that rapes are just drunk hook-ups, and that women routinely lie), and

young men’s cultural adherence to the sex aggressor role.

       111.    The 2011 Dear Colleague Letter, further, relied on faulty statistics in sounding a

“call to action” for campuses nationwide—that “about 1 in 5 women are victims of completed or

attempted sexual assault while in college.” 2011 Dear Colleague Letter, at p. 2. The researchers

behind this study subsequently invalidated that statistic as a misrepresentation of the conclusions

of the study and warned that it was “inappropriate to use the 1-in-5 number as a baseline…when

discussing our country’s problem with rape and sexual assault.” http://time.com/3633903/campus-

rape-1-in-5-sexual-assault-setting-record-straight/. Relying on these faulty numbers, the 2011

Dear Colleague Letter minimized the value and merit of due process protections for the accused

by, among other things, eschewing a firm presumption of innocence, mandating a preponderance

of the evidence standard, limiting cross-examination, limiting the right to an attorney, and

forbidding certain forms of alternative dispute resolution.

       112.    The April 2011 Dear Colleague Letter advised that, in order to comply with Title

IX, colleges and universities must have prompt procedures to investigate and resolve complaints

of sexual misconduct. Most notably, the 2011 Dear Colleague Letter required schools to adopt a

relatively low burden of proof—“more likely than not”—in cases involving sexual misconduct,

including sexual assault. Several colleges had previously been using a “clear and convincing,”

standard of proof and some, like Stanford University, applied the criminal standard, “beyond a

reasonable doubt.”




                                                 34
       Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 35 of 63



        113.   The 2011 Dear Colleague Letter stated that schools should “minimize the burden

on the complainant,” and suggested that schools focus more on victim advocacy. It required

schools to give both parties the right to appeal a decision, which in too many instances affords

Grinnell the opportunity to double down on its gender bias.

        114.   The Obama Administration, through the DE and OCR, treated the 2011 Dear

Colleague Letter as binding on regulated parties for all practical purposes and pressured colleges

and universities to aggressively pursue investigations of sexual assaults on campuses. Catherine

Lhamon (“Lhamon”), former Assistant Secretary of the Department of Education in charge of OCR,

delivered the following message to colleges and universities:

        115.   In February 2014, Lhamon told college officials attending a conference at the

University of Virginia that schools needed to make “radical” changes. According to the Chronicle

of Higher Education, college presidents said afterward that there were “crisp marching orders from

Washington.” “Colleges Are Reminded of Federal Eye on Handling of Sexual-Assault Cases,”

Chronicle of Higher Education, February 11, 2014.

        116.   On April 29, 2014, OCR issued additional directives to colleges and universities in

the form of a guidance document titled Questions and Answers on Title IX and Sexual Violence

(“Q&A”) which was aimed at addressing campus sexual misconduct policies, including the

procedures colleges and universities “must” employ “to prevent sexual violence and resolve

complaints” and the elements that “should be included in a school’s procedures for responding to

complaints of sexual violence.” Q&A, at p. 12. The Q&A advised schools to adopt a “trauma

informed” approach, advising, for example, that hearings should be “conducted in a manner that

does not inflict additional trauma on the complainant,” Id. at p. 31, which works to enforce a

presumption of credibility of the alleged victim.



                                                35
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 36 of 63



       117.    In April 2014, the White House issued a report entitled “Not Alone”, which—like

the April 2011 Dear Colleague Letter—relied upon the faulty “1 in 5” statistic and focused on

protecting women from sexual assault, “engaging men” and “if you see it happening, help her,

don’t blame her, speak up.” Id. at p. 2. The report also suggested that college and universities

undergo “trauma-informed training” because “victim’s often blame themselves; the associated

trauma can leave their memories fragmented; and insensitive or judgmental questions can

compound a victim’s distress.” The report added “[w]hen survivors are treated with care and

wisdom, they start trusting the system, and the strength of their accounts can better hold offenders

accountable.” The report included a warning that if the OCR found that a Title IX violation

occurred, the “school risk[ed] losing federal funds” and that the DOJ shared authority with OCR

for enforcing Title IX and may initiate an investigation or compliance review of schools. Further,

if a voluntary resolution could not be reached, the DOJ could initiate litigation. The report

contained no recommendation with respect to ensuring that the investigation and adjudication of

sexual assault complaints be fair and impartial or that any resources be provided to respondents

accused of sexual assault.

       118.    In June 2014, Lhamon testified at a Senate hearing that “some schools are still

failing their students by responding inadequately to sexual assaults on campus. For those schools,

my office and this Administration have made it clear that the time for delay is over.” Lhamon

stated at the Senate Hearing in June 2014 that “we do” expect institutions to comply with the 2011

Dear Colleague Letter. Lhamon further told the Senate Committee, “Th[e] [Obama]

Administration is committed to using all its tools to ensure that all schools comply with Title IX .

. .” She also told the Committee that if OCR cannot secure voluntary compliance from a recipient,




                                                36
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 37 of 63



OCR may initiate an administrative action to terminate and/or refuse to grant federal funds or refer

the case to the Department of Justice.

        119.    In July 2014, Lhamon, speaking at a conference on campus sexual assault held at

Dartmouth College, stated that she was prepared to cut off federal funding to schools that violate

Title IX and that she would strip federal funding from any college found to be non-compliant with

the requirements of the Dear Colleague Letter. “Do not think it’s an empty threat,” Lhamon

warned. She went on to describe that enforcement mechanism as part of a set of “very, very

effective tools,” adding “If a school refuses to comply with Title IX in any respect, I will enforce.”

Lhamon was quoted: “It’s not surprising to me that we haven’t gone to the last step. . . . It means

that so far the process has been working.” 13

        120.    Grinnell receives federal funds, including Pell Grants, grants from the National

Science Foundation, and other research grants.

        121.    In Fall 2014, Grinnell’s Title IX Coordinator at the time, Angela Voos (“Ms.

Voos”), and Ms. Conner gave a Title IX presentation to Grinnell staff that discussed compliance

with the 2011 Dear Colleague Letter and noted that the College’s federal funding was at stake, and

that the “stakes [we]re high.” Grinnell’s Title IX counsel also advised that compliance with Title

IX was tied to government funding. The understanding amongst Grinnell administrators was that

if they did not comply with OCR guidance that Grinnell would take a financial hit.

        B. Campus Activists Prompt OCR Investigation at Grinnell

        122.    During Grinnell’s Fall 2014 semester, a campus activist group was formed—known

as “Dissenting Voices”—which publicized Grinnell’s alleged retaliation against, and failure to




13
   Meredith Clark, “Official to colleges: Fix sexual assault or lose funding,” July 15, 2014 (available at:
http://www.msnbc.com/msnbc/campus-sexual-assaultconference-dartmouth-college#51832).

                                                    37
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 38 of 63



protect, female sexual assault complainants and criticized the College’s leniency towards males

accused of sexual misconduct.

       123.    Grinnell administrators have described the group’s philosophy as aligning with

“feminist philosophy.” Dissenting Voices regularly criticized Grinnell’s administration for

fostering a campus “rape culture.”

       124.    Dissenting Voices was particularly critical of former Title IX Coordinator Angela

Voos (“Ms. Voos”), whom they believed had a conflict of interest and lacked the experience

necessary to carry out her duties.

       125.    In response to a list of the group’s demands, Ms. Voos and Ms. Conner met with

members of Dissenting Voices in Fall 2014. At that time, Ms. Voos had internally expressed

concerns about Title IX compliance and the threat of the loss of Grinnell’s federal funding.

       126.    Grinnell responded to, some say “catered to,” certain of the group’s demands by

publishing a revised sexual misconduct policy mid-year, in Spring 2015. The revised policy did

away with student/faculty conduct board hearings in sexual misconduct cases and the respondent’s

right of cross-examination. The revised policy also adopted the single adjudicator model typically

helmed by Justice Ternus.

       127.    Apart from pushing for policy changes, Dissenting Voices pushed for safe spaces

for women on campus, called for “anti-sexist” training for men and demanded trauma-informed

training for the administrators responsible for issuing sanctions so that more serious penalties

would be imposed on respondents, including dismissal from the College.

       128.    Dissenting Voices was responsible for female students filing of a number of

complaints with OCR in or around March 2015, and for the publication, in March 2015, of an

article in The Huffington Post, which criticized Grinnell’s handling of sexual misconduct cases



                                                38
       Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 39 of 63



and publicized the OCR complaints. The article included a quote from Ms. Conner, who served as

the appeal officer in Plaintiff’s case and numerous other cases, that “[w]hen a student is found

responsible for sexual misconduct the college’s first consideration is always dismissal.”

        129.     Shortly prior to publication of The Huffington Post article, Grinnell’s President,

Raynard Kington (“President Kington”), attempted to ward off an OCR investigation by requesting

“technical assistance” from OCR, in essence requesting that the OCR conduct a review of

Grinnell’s sexual misconduct policies and procedures.

        130.     On March 6, 2015, Dissenting Voices published an editorial in the campus

newspaper which criticized President Kington’s request for technical assistance as “redundant”

and “a way of providing cover to the institution after years of betraying survivors.” 14

        131.     Shortly after President Kington requested technical assistance from OCR,

allegations surfaced accusing him of being verbally abusive to a female student, a sexual assault

complainant, who had come to him for assistance and to lodge a complaint about the male

respondent in her case, who was found responsible for sexual misconduct and went on to become

the baccalaureate speaker for his class. 15

        132.     On March 24, 2015, OCR denied the College’s request for technical assistance.

        133.     On April 2, 2015, an opinion piece was published in the campus newspaper, The

Scarlet & Black, calling for President Kington to resign. 16 The article noted that “I am …concerned

about your personal treatment of sexual assault survivors, namely that you told a survivor you

don’t want to hear her voice and that you were ashamed a student like her would graduate from

Grinnell.”


14
    See http://www.thesandb.com/news/dissenting-voices-responds-to-grinnell-administration.html.
15
   See http://www.thesandb.com/opinion/letter-to-the-editor-can-you-hear-me-now-a-survivor-responds-to-the-chair-
of-the-board-of-trustees.html
16
   http://www.thesandb.com/opinion/letter-to-the-editor-admin-created-hostile-environment-for-survivors.html.

                                                       39
         Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 40 of 63



           134.     In July 2015, the OCR notified Grinnell that it was launching an investigation into

allegations that the College had subjected female students to a hostile environment based on sex

by failing to appropriately respond to complaints of sexual violence and by retaliating against

female students who engaged in advocacy and were critical of Voos and the College.

           135.     Grinnell’s response focused on the manner in which it had changed its sexual

misconduct policy and training programs, noting the mid-year change to the sexual misconduct

policy—which stripped respondents of a right to a hearing and cross-examination—all in response

to student advocacy.

           136.     In August 2015, the female OCR complainants threatened litigation.

           137.     On September 28, 2015, Grinnell announced several changes to its sexual

misconduct policy, including the use of Husch Blackwell for conducting investigations, and new

timelines for the investigation and appeal process.

           138.     On October 2, 2015, The Scarlet &Black, published a letter to the editor from

Dissenting Voices, discussing their amended aims and goals, which had been handed out on

campus. The group urged the College to “address racism, sexism and homophobia within the

sexual misconduct process.” 17

           139.     In October 2015, Grinnell settled with the female OCR complainants and they

withdrew their complaints. Upon information and belief, the settlement cost Grinnell millions of

dollars.

           140.     Though the OCR complaints were withdrawn, OCR continued the investigation

until July 28, 2017.




17
     http://www.thesandb.com/opinion/letter-to-the-editor-dissenting-voices-releases-aims-and-goals.html

                                                          40
         Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 41 of 63



           141.    On August 28, 2016, Dissenting Voices hosted a “Disorientation” table at new

student orientation which informed students that Grinnell was under OCR investigation, and for

which flyers were distributed which stated “Grinnell has a sexual assault problem and no one is

talking about it.”

           142.    On or about September 17, 2016, members of Dissenting Voices handed out

information in the campus center during Family Weekend. Per Dissenting Voices’ Facebook page:

           For Family Weekend we decided to distribute information about the federal
           investigation of Grinnell to students, their families, and prospective students. A
           staff member of Student Affairs told us that we were not allowed to be in the JRC
           lobby because it was hosting the Family Weekend Welcome and Information Table.
           However, we continued to hand out our materials in a different area of the JRC.

           The school is interested in preserving a perfect, marketable image of Grinnell,
           regardless of the real issues students face on campus. As a school that markets itself
           as progressive and focused on social justice, why do we continue to hide the fact
           that we have a sexual assault problem? We, as an institution, continue to
           retraumatize and not help survivors. We must continue to push for policy change
           and increased resources.

           143.    Shortly thereafter, in Fall 2016, Dissenting Voices held a demonstration during

Trustee’s Weekend calling for a new Title IX Coordinator who did not have so many conflicts of

interest and wasn’t “so closely tied to the image and standing of the college.” The motivation for

this criticism was that Ms. Voos held multiple roles besides Title IX Coordinator, including Chief

of Staff and Vice President of Strategic Planning for Grinnell.

           144.    On November 4, 2016, The Scarlet & Black published an article about Dissenting

Voices’ efforts to combat sexual assault during the Fall 2016 semester. 18 The article noted that the

group had gained faculty support. More specifically, English Professor Theresa Geller (“Professor

Geller”) had joined their cause, Faculty Against Rape. Dissenting Voices member Leah Barr said

that one of Dissenting Voices’ goals was “to keep the momentum going and make sure that people


18
     http://www.thesandb.com/news/dissenting-voices-combats-campus-sexual-assault-throughout-semester.html

                                                       41
         Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 42 of 63



are still angry, because there’s a lot to be angry about.” Ms. Barr pointed out that at new student

orientation the OCR investigation was not mentioned by administrators. Barr further stated:

           For the most part, rapists on this campus are not expelled. They sometimes receive
           sanctions, no contact orders…[which] don’t do anything…Rapists know they can
           rape with impunity. They know that they’re not really going to be punished. So it
           doesn’t deter them. So if we create these policies with more stringent punishments
           or sanctions, I think the incidents of rape would go down. But the general consensus
           on campus is you can rape multiple people and not much is going to happen to you.

           145.     On November 8, 2016, Dissenting Voices and Professor Geller held an Open House

to discuss Dissenting Voices Aims and Goals and grassroots activism.

           146.     On November 17, 2016, Dissenting Voices sponsored a lecture by Dr. Caroline

Heldman on “The New Campus Anti-Rape Movement: Networked Activism for Change.” The

focus of the lecture was about how student activists could use social media to shame institutions

and hold them accountable for failing to address sexual assault.

           147.     On November 19, 2016 Dissenting Voices organized a women’s self-defense

seminar.

           148.     On April 9, 2017, Dissenting Voices held a protest during programming for

prospective students. Per coverage in The Scarlet & Black, the location and time of the protest

were meant to be provocative. 19 Some of the protesters held signs noting “Expel Rapists.” The

article further noted, without support, “As 90 percent of campus rapes are committed by repeat

offenders, Dissenting Voices sees the establishment of this minimum outcome as not only a justice

issue, but one of safety as well.” Leah Barr noted “It makes financial sense for the Title IX

coordinator to be wrapped up in the president’s office because part of the president’s job is

fundraising and image control. So if you have full control over which rape becomes publicly

known…the image is protected.”


19
     http://www.thesandb.com/article/protests-at-admitted-students-weekend.html

                                                         42
         Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 43 of 63



           149.     On April 28, 2017, Dissenting Voices published a letter to the Board of Trustees,

raising concerns about serial assailants on campus and calling for minimum outcomes in sexual

misconduct cases.

           150.     On April 29 and May 6, 2017 Dissenting Voices hosted a “teach-in series” on

Feminist Theory, including the “Politics of Sexual Violence.”

           151.     On September 1, 2017, The Scarlet & Black announced the closure of the OCR

investigation at Grinnell. 20 In the article a co-leader of Dissenting Voices expressed concerns

regarding the closure of the investigation and said that Dissenting Voices planned to file a FOIA

request to determine whether Grinnell settled with the complainants and, as part of that settlement,

required them to withdraw their complaints. The article noted that the closure of the investigation

may have had more to do with the Trump administration’s change in investigation strategy rather

than the lack of any problems in Grinnell’s sexual misconduct process. Ms. Voos noted that

Grinnell would be changing its sanctioning policy with respect to sexual misconduct, to reflect

“typical outcomes” such as “dismissal or suspension.” This change was made in response to

Dissenting Voices repeated calls for “mandatory minimum” sanctions in sexual misconduct cases.

           C. The U.S. Department of Education Rescinds 2011 Dear Colleague Letter

           152.     On September 7, 2017 the United States Secretary of Education, Betsy DeVos

(“DeVos”) vowed to replace the “failed system” of campus sexual assault enforcement, to ensure

fairness for both accusers and the accused. DeVos stated that “one person denied due process is

one too many.” 21

           153.     The failure of educational institutions to provide fair and impartial policies and

procedures led DeVos to declare that “the current approach isn’t working. Washington has


20
     http://www.thesandb.com/news/ocr-administratively-closes-the-colleges-title-ix-investigations.html
21
     https://www.ed.gov/news/speeches/secretary-devos-prepared-remarks-title-ix-enforcement

                                                          43
          Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 44 of 63



burdened schools with increasingly elaborate and confusing guidelines that even lawyers find

difficult to understand and navigate. Where does that leave institutions, which are forced to be

judge and jury?” Moreover, DeVos stated, “It’s no wonder so many call these proceedings

‘kangaroo courts.’ Washington’s push to require schools to establish these quasi-legal structures

to address sexual misconduct comes up short for far too many students.”

           154.     Regarding pressure from the OCR on institutions to adhere to “the failed system

imposed policy by political letter,” DeVos stated, “No school or university should deprive any

student of his or her ability to pursue their education because the school fears shaming by – or loss

of funding from – Washington.”

           155.     Significantly, DeVos proclaimed that the “era of ‘rule by the letter’ is over.” The

“April 2011 Dear Colleague Letter” has failed students and their institutions. “Every student

accused of sexual misconduct must know that guilt is not predetermined.” Most importantly, “any

school that uses a system biased toward finding a student responsible for sexual misconduct also

commits discrimination.” “Due process is the foundation of any system of justice that seeks a fair

outcome. Due process either protects everyone, or it protects no one,” DeVos stated.

           156.     On September 22, 2017, the OCR rescinded the 2011 Dear Colleague Letter and

“Questions and Answers on Title IX and Sexual Violence,” dated April 29, 2014.

           157.     The OCR noted that the 2011 Dear Colleague Letter placed “improper pressure

upon universities” which resulted in the establishment of procedures for resolving sexual

misconduct allegations which “‘lack the most basic elements of fairness and due process, are

overwhelmingly stacked against the accused, and are in no way required by Title IX law or

regulation.’” Id. (citation omitted) (emphasis added). 22 .



22
     See https://www2.ed.gov/about/offices/list/ocr/letters/colleague-title-ix-201709.pdf

                                                            44
          Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 45 of 63



           158.     On the same day, the OCR issued a significant guidance document “September

2017 Q&A on Campus Sexual Misconduct” (the “2017 Guidance”). 23 The 2017 Guidance

prohibits universities from relying on fixed rules or assumptions that favor complainants over

respondents.

           159.     The 2017 Guidance requires that (i) a person free from actual or perceived conflicts

of interest or biases lead sexual misconduct investigations; (ii) training materials or investigative

techniques that “apply sex stereotypes or generalizations may violate Title IX and should be

avoided” to ensure a fair and impartial investigation; (iii) all rights and opportunities made

available to complainants must be made available to respondents; (iv) “[d]ecision-making

techniques or approaches that apply sex stereotypes or generalizations may violate Title IX and

should be avoided” to ensure objective and impartial investigation; and (v) those issuing sanctions

must consider the impact of separating a student from his or her education and the sanction should

be proportionate to the violation. See id. The 2017 Guidance also permitted schools to apply the

clear and convincing evidence standard in sexual misconduct proceedings. Id. at p. 5.

           160.     On September 25, 2017, Grinnell’s Title IX Office issued a campus memo to

address the rescission of the 2011 Dear Colleague Letter and 2014 Q&A, and the OCR’s issuance

of new guidance. 24 The memo informed students that the College would continue to employ the

“preponderance of the evidence” standard in sexual misconduct cases. The memo noted that the

new guidance permitted colleges to facilitate informal resolution, including mediation, and that

the College was “looking into the implications of this change.” It continued “At this time, we do

not believe the announcement will affect our policies and procedures.”




23
     See https://www2.ed.gov/about/offices/list/ocr/docs/qa-title-ix-201709.pdf.
24
     www.grinnell.edu/news/special-campus-memo-title-ix

                                                           45
       Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 46 of 63



        161.     Ms. Voos gave a statement to The Scarlet & Black in which she stated “Our

disciplinary process already addressed the issue that they’re looking at-that is, do you have a fair

and thorough and impartial way of investigating and adjudicating…. most of this guidance is about

choices. It’s permitting some scaling back—we’re not scaling back.” 25

        162.     On November 9, 2017, Dissenting Voices held a vigil for survivors of sexual assault

in response to the DE’s rescission of the 2011 Dear Colleague Letter. During an interview about

the vigil, one of the co-leaders of Dissenting Voices was asked whether the process in place under

the 2011 Dear Colleague Letter was biased against male students accused of sexual misconduct.

In response, she said “the system doesn’t do enough to back survivors and ensure that rapists are

kept from becoming serial rapists. And the fact that the Trump administration is lessening this is

quite worrisome.” 26

        163.     Part of the November 9, 2017 vigil was the creation of a display supporting sexual

assault survivors. It was immediately removed by campus officials after the event. On November

14, 2017 Dissenting Voices published an opinion piece complaining about the removal.

        164.     On January 25, 2018, a former member of Dissenting Voices and Grinnell alumna

wrote a letter to the editor of The Scarlet & Black, “An Elegy For Feminist Justice At Grinnell,”

that stated that, through “radical feminist praxis” Dissenting Voices “accomplished many things,

including….directing Grinnell’s issue to national attention through the Huffington Post, and most

importantly, the opening of an official Title IX Complaint to the Office of Civil Rights….While

the OCR is no longer investigating …it set an important precedent at Grinnell that rendered visible




25
   http://www.thesandb.com/news/college-to-uphold-most-obama-era-title-ix-guidelines-reconsider-mediation-
approach.html
26
    http://www.thesandb.com/news/dissenting-voices-holds-national-vigil-to-support-survivors-of-sexual-assault.html

                                                        46
         Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 47 of 63



the possibility of legal action against parties responsible for sexual discrimination, and the weight

that legal action can have on changing policies and procedures.”

           165.     The article went on to state “Feminist theorists such as Susan Brownmiller have re-

theorized sexual violence as crime of power, not a crime of passion. Sexual violence has been used

historically to control and dominate women’s bodies to reinforce women’s place as one in the

private and domestic sphere… Dissenting Voices have received critique from the administration

for our protests against policies and practices from our Title IX office. The reason why feminist

activists have critiqued the administration is because our campus does not provide an equal access

campus. It is not equal access when a countless number of serial rapists graduate while their peers

affected by their violence are on medical leave. In May 2017, I walked Commencement stage with

a banner that read: ‘We are Graduating with Two Serial Rapists’ only to learn two days later that

number should have been five.”

           166.     Finally, the article stated “Dissenting Voices has been effective because of the

recognition of the College’s investment in its image. We’ve hit them where it hurts: their public

identity and their money.” 27

                                                 COUNT I
                      Violations of Title IX of the Education Amendments of 1972
                               Erroneous Outcome/Selective Enforcement

           167.     Plaintiff repeats and realleges each and every allegation set forth above, in

Paragraphs 1-166, as if fully set forth herein.

           168.     Title IX of the Education Amendments of 1972 (20 U.S.C. § 1681) (“Title IX”),

provides, in relevant part, that:




27
     See http://www.thesandb.com/article/letter-to-the-editor-an-elegy-for-feminist-justice-at-grinnell.html.


                                                            47
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 48 of 63



        No person in the United States shall, on the basis of sex, be excluded from
        participation in, be denied the benefits of, or be subjected to discrimination under
        any education program or activity receiving Federal financial assistance.

        169.    Title IX applies to an entire school or institution if any part of that school receives

federal funds. Grinnell receives federal funds, including Pell Grants, grants from the National

Science Foundation, and other research grants.

        170.    Both the Department of Education and the Department of Justice have

promulgated regulations under Title IX that require a school to “adopt and publish grievance

procedures providing for the prompt and equitable resolution of student . . . complaints

alleging any action which would be prohibited by” Title IX or the regulations thereunder. 34

C.F.R. § 106.8(b) (Dep’t of Education); 28 C.F.R. § 54.135(b) (Dep’t of Justice). Such

prohibited actions include all forms of sexual harassment, including non-consensual sexual

intercourse, sexual assault, and rape. 28

        171.    The “prompt and equitable” procedures that a school must implement include, at a

minimum: “[n]otice . . . of the procedure, including where complaints may be filed; [a]pplication

of the procedure to complaints alleging harassment; . . . [a]dequate, reliable, and impartial

investigation of complaints, including the opportunity to present witnesses and other

evidence; . . . [and] [d]esignated and reasonably prompt timeframes for the major stages of the

complaint process.” See 2001 Guidance at p. 20.

        172.    The OCR’s 2017 Guidance further requires that:

                a) training materials that apply sex stereotypes or generalization be avoided to
                   ensure a fair and impartial investigation;




28
  See generally U.S. Dep’t of Education, Office for Civil Rights, Revised Sexual Harassment Guidance:
Harassment of Students by School Employees, Other Students, or Third Parties—Title IX (2001) (the “2001
Guidance”) at 19-20, 21 & nn. 98-101.

                                                   48
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 49 of 63



               b) decision-making techniques or approaches that apply sex stereotypes or
                  generalizations be avoided to ensure an objective and impartial investigation;
                  and

               c) those issuing sanctions must consider the impact of separating a student from
                  his or her education and the sanction should be proportionate to the violation.

       173.    Title IX may be violated by a school’s imposition of discipline where gender is a

motivating factor in the decision to discipline.

       174.    Challenges to the outcome of college disciplinary proceedings can fall into two

categories: (1) “erroneous outcome” cases, in which the claim is that the plaintiff is innocent and

wrongly found to have committed an offense and gender bias was a motivating factor behind the

erroneous findings; and (2) “selective enforcement” cases, in which the claim is that, regardless of

the plaintiff’s guilt or innocence, the severity of the penalty and/or decision to initiate the

proceeding was affected by the respondent’s gender.

       175.    To succeed on an erroneous outcome claim under Title IX, a plaintiff must

demonstrate: (i) that there are sufficient facts to cast some articulable doubt on the accuracy of the

outcome of the disciplinary proceeding; and (ii) a particularized causal connection between the

flawed outcome and gender bias. See Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2d Cir. 1994).

       176.    Gender bias may be shown through the statements of members of the disciplinary

tribunal, statements by pertinent college officials, or patterns of decision-making that tend to show

the influence of gender. Yusuf, 35 F.3d at 715. For instance, “where the evidence substantially

favors one party’s version of a disputed matter, but an evaluator forms a conclusion in favor of the

other side” it may be inferred that the evaluator has been influenced by bias. Doe v. Columbia U.,

831 F.3d at 57.




                                                   49
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 50 of 63



       177.    Outdated and discriminatory views of sexuality and gender on the part of a key

decisionmaker in a Title IX proceeding will also show that the proceeding was infected with gender

bias. Marymount, 297 F. Supp. 3d at 586. See also Grinnell 1, SJ Order, at pp. 22-28.

       178.    Articulable doubt in the accuracy of the outcome of a disciplinary proceeding can

be established in a number of ways including: pointing to procedural flaws in the investigatory and

adjudicative processes; noting inconsistencies or errors in the adjudicator’s oral or written

findings; or challenging the overall sufficiency and reliability of the evidence. Marymount U., 297

F. Supp. 3d at 584. See Yusuf, 35 F. 3d at 715.

       179.    An erroneous outcome occurred in this case because Plaintiff, who was innocent,

was subjected to a blatantly flawed process and proceedings and erroneously found responsible

for violating Grinnell’s Sexual Misconduct Policy, and gender was a motivating factor behind this

erroneous outcome.

       180.    Beginning in Fall 2014 and up until the time that Plaintiff’s Title IX proceedings

were underway, Grinnell was under tremendous pressure to respond to criticism from campus

activist group Dissenting Voices, to correct its failings and take a more aggressive stance towards

male students accused of sexual misconduct.

       181.    Dissenting Voices regularly criticized the administration for creating a hostile

environment for female students and held protests across campus during high profile events,

ensuring that students and parents alike were aware that, according to Dissenting Voices, Grinnell

had a sexual assault problem.

       182.    Grinnell administrators—including the appeal officer in Plaintiff’s case—met with

members of Dissenting Voices and revised the College’s sexual misconduct policy and procedures

so that the accused were no longer afforded a hearing or the right of cross-examination.



                                                  50
        Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 51 of 63



         183.   When notified that the OCR was investigating the College, in response to well-

publicized complaints prompted by Dissenting Voices, Grinnell responded by emphasizing these

policy changes, noting that they were made in response to student activism.

         184.   In October 2015, Grinnell entered into a financial settlement with the female, OCR

complainants which, upon information and belief, amounted to millions of dollars.

         185.   The OCR investigation did not conclude until nearly two years later, in September

2017.

         186.   Dissenting Voices continued to criticize the administration. On January 25, 2018,

at around the time Jane Doe filed her Title IX complaint against Plaintiff, Dissenting Voices

claimed that “a countless number of serial rapists” were being permitted to graduate from Grinnell

“while their peers affected by violence are on medical leave.” Upon information and belief, Jane

Doe was a member of Dissenting Voices.

         187.   In response to Dissenting Voices’ demands, Grinnell adopted a trauma-informed

approach to sexual misconduct proceedings. More specifically, Grinnell adopted what it referred

to as “evidence-based guidance” which portrayed women as at greater risk for victimization and

men as toxic and privileged by a “patriarchal dividend” that left them “unaware and complicit” in

sexual violence against women.

         188.   Grinnell trained its personnel, including Justice Ternus, the adjudicator in

Plaintiff’s case, to adopt a trauma-informed approach in sexual misconduct proceedings.

         189.   Since doing away with the hearing model in sexual misconduct cases, Grinnell has

also engaged in a gender-biased pattern of decision-making in sexual misconduct cases as female

respondents have been treated more favorably, and more leniently, than male respondents.




                                                51
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 52 of 63



       190.    Justice Ternus has also exhibited gender-biased decision-making in cases other than

Plaintiff’s. In cases involving female respondents, Justice Ternus has treated those respondents

more favorably, and more leniently, than male respondents.

       191.    In cases other than Plaintiff’s, Justice Ternus has also attributed stereotypical traits

to female complainants and male respondents, attributing traits like naïveté and passivity to the

female complainant and sexual experience and aggressiveness to the male respondent. See Grinnell

1, Order, July 9, 2019, Doc. No. 151, at pp. 22-28; Grinnell 2, Doc. No. 1, Compl. ¶¶ 117-136,

151-166, 181-185 and 186-190.

       192.    Ms. Moschenross, who determined the sanctions in Plaintiff’s case, has made

numerous public statements which are indicative of bias against men.

       193.    Ms. Conner also demonstrated bias against Plaintiff in determining his appeal. She

has, further, endorsed an overly punitive approach to those found responsible for sexual

misconduct.

       194.    In Plaintiff’s case, the following occurred, which is indicative of gender bias in the

proceedings:

           a. The Husch Blackwell investigator failed to ask Jane Doe questions which
              challenged her credibility, including why she initially named a person other than
              Plaintiff as the perpetrator of the alleged sexual misconduct. The investigator also
              declined to interview Jane Doe’s former boyfriend at Jane Doe’s request.

           b. During Jane Doe’s adjudication meeting, Justice Ternus was encouraging and
              supportive and failed to ask any questions which challenged Jane Doe’s credibility.

           c. Justice Ternus treated Plaintiff harshly and without concern for the potential impact
              of the outcome of Jane Doe’s allegations. Justice Ternus was taken aback when
              Plaintiff challenged Jane Doe’s credibility during his adjudication meeting.

           d. Justice Ternus failed to engage with evidence, that contradicted Jane Doe’s
              allegations, including Jane Doe’s own statements that she never said no to the
              sexual activity in question or verbalized a lack of consent. Justice Ternus simply
              found Jane Doe to be more credible despite evidence to the contrary.

                                                 52
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 53 of 63




           e. Justice Ternus misapplied the definition of consent stated in the Sexual Misconduct
              Policy, placing the burden fully on Plaintiff to obtain consent, rather than placing
              the burden on Jane Doe to appropriately withdraw consent.

           f. Justice Ternus holds outdated and discriminatory views of gender, including
              notions concerning female passivity during sexual encounters which, upon
              information and belief, influenced her decision in Plaintiff’s case.

           g. Ms. Moschenross who, among other things, publicly stated that she is on the side
              of women because she is a woman, imposed an unduly severe and unwarranted
              sanction against Plaintiff under the purported threat of harm to the community. Yet
              Plaintiff and Jane Doe attended the College for over two years after the alleged
              encounter without incident.

           h. Ms. Conner’s letter denying Plaintiff’s appeal was dripping with hostility towards
              Plaintiff, including the statement “I am sorry to hear that you still have uncertainties
              about when your sexual partners are or are not consenting.” Plaintiff never
              expressed such uncertainty, and certainly not in his appeal. Ms. Conner ignored that
              Jane Doe was responsible for withdrawing consent in accordance with the Sexual
              Misconduct Policy and that Doe’s own statements demonstrated that there was no
              policy violation. Ms. Conner also overlooked the bias in the Title IX process,
              dismissing as Plaintiff’s mere disagreement with, or opinions about, the outcome.
              Ms. Conner asserted that because Justice Ternus was a former Supreme Court
              Justice she could not be biased.

       195.    The flawed manner in which the “investigation” and adjudication of the allegations

against Plaintiff were conducted also casts doubt on the accuracy of the outcome. Grinnell failed

to conduct a fair, adequate, reliable and impartial investigation and adjudication of the complaints

against Plaintiff because, without limitation:

           a. The decisionmakers in Plaintiff’s case were hardly impartial and were, in fact,
              biased against males;

           b. Neither the investigator nor the adjudicator questioned Jane Doe about key issues,
              including why she named someone else as the perpetrator and why she waited over
              two years to make a complaint against Plaintiff;

           c. Ms. Moschenross was responsible for initially meeting with Jane Doe to conduct a
              case assessment and for sanctioning Plaintiff;

           d. Plaintiff was not fully apprised of the allegations against him until he met with the
              Title IX investigator;

                                                 53
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 54 of 63




           e. Ms. Asberry and Ms. Moschenross bolstered Jane Doe’s complaint by using an
              anonymous complaint, which ultimately was not pursued, as grounds to conduct a
              formal investigation under a purported pattern of behavior;

           f. The Title IX investigator asked Plaintiff about the anonymous complaint after
              Plaintiff was told the College was not investigating said complaint. This
              information was included in the investigation report provided to Justice Ternus;

           g. The Title IX investigator failed to question Jane Doe’s former boyfriend;

           h. Because over two years had passed since his encounter with Jane Doe, Plaintiff was
              unable to collect all evidence relevant to his defense;

           i. Plaintiff did not have an equal opportunity to be heard;

           j. Prejudicial and irrelevant information was included in the investigation report that
              was provided to Justice Ternus;

           k. Justice Ternus’ finding of responsibility was not supported by the evidence and
              grounded, in part, in (i) her misapplication of the definition of consent in the Sexual
              Misconduct Policy; and (ii) failure to apply the preponderance of the evidence
              standard;

           l. Upon information and belief, Justice Ternus provided written recommendations to
              Ms. Moschenross with respect to Plaintiff’s sanctions that were not shared with
              Plaintiff;

           m. Ms. Moschenross issued disproportionate sanctions and failed to consider the
              impact of those sanctions on Plaintiff. She also created a false narrative that
              Plaintiff was a threat to the community when Plaintiff and Jane Doe had coexisted
              on Grinnell’s campus for over two years;

           n. Upon information and belief, Justice Ternus and Grinnell’s Title IX counsel
              reviewed Plaintiff’s appeal; and

           o. Ms. Conner’s denial of Plaintiff’s appeal was improper given the number of
              procedural flaws, including a lack of impartiality, that tainted the proceedings.

       196.    Grinnell has also engaged in selective enforcement. Female respondents accused of

similar misconduct are given far less severe sanctions than male respondents:

           •   In the case of Student B, who waged a public smear campaign against Plaintiff’s
               roommate and other male students, the College took little or no action to stop her

                                                54
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 55 of 63



               harassment and abuse. The College took no action with respect to the Title IX
               complaint filed against Student B by Plaintiff’s friend, whom she had called a
               rapist. Plaintiff’s roommate was forced to leave the College even though Student B
               never filed a formal complaint. The College denied Plaintiff a no contact order with
               respect to Student B after Plaintiff’s roommate left.

           •   Grinnell informally resolved two, separate complaints against a female student
               accused of nonconsensual sexual intercourse by issuing no contact orders. Leniency
               was given to the female student. In contrast, the College has given no leniency to
               male students accused of sexual misconduct, including Plaintiff.

           •   Justice Ternus found a female student responsible for nonconsensual sexual
               intercourse. The complainant requested that the College place a notation on the
               respondent’s transcript. Justice Ternus refused this request because it would impede
               the female respondent’s ability to complete her educational goals, gain employment
               and become a responsible member of the community. The College issued only a
               campus ban as a sanction, after the adjudication process. Upon information and
               belief, the female respondent does not have a permanent conduct record. Here,
               Justice Ternus’ attitude towards Plaintiff was punitive.

           •   Between January 1, 2014 and June 30, 2018, the only cases that Grinnell informally
               resolved and then reopened for a subsequent, formal resolution process involved
               male respondents.

       197.    Based on the foregoing, Plaintiff was subjected to a biased, prejudiced and unfair

process in violation of Title IX designed to find him, the male, responsible for sexual misconduct

and punished severely for it.

       198.    As a direct and proximate result of the above conduct, Plaintiff sustained damages

including, without limitation, emotional distress, loss of educational and career opportunities,

reputational damages, economic injuries and other direct and consequential damages.

       199.    Grinnell’s violation of Title IX resulted in erroneous, unduly severe and

unwarranted sanctions which continue to injure Plaintiff’s reputation. Accordingly, an injunction

should issue directing Grinnell to (i) reverse the outcome and finding; (ii) vacate the sanctions;

(iii) expunge Plaintiff’s disciplinary record; (iv) remove any record of the finding and sanctions

from Plaintiff’s education records and any other records kept at the College, including but not


                                                55
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 56 of 63



limited to public safety records, records kept by the development office, and any other departments

maintaining such records; and (v) destroy any and all records concerning the Title IX investigation,

findings, outcome, sanctions and Plaintiff’s appeal.

       200.    As a result of the foregoing, Plaintiff is also entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements.

                                          COUNT II
                                 State Law-Breach of Contract

       201.    Plaintiff repeats and realleges each and every allegation set forth above, in

Paragraphs 1-166, as if fully set forth herein.

       202.    Under Iowa law, Grinnell’s Sexual Misconduct Policy created a contractual

relationship between Grinnell and its students. See, e.g. T.E. v. Linn-Mar Community School Dist.,

No. LACV 35077, 2000 WL 34514000 (Iowa Dist. Ct. Aug. 30, 2000); Harvey v. Palmer College

of Chiropractic, 363 N.W.2d 443 (1984).

       203.    Grinnell breached the Sexual Misconduct Policy by:

               i. Engaging in sex discrimination against Plaintiff. See Sexual Misconduct
                  Policy, at p. 3.

               ii. Failing to “approach the assessment of each report with an earnest intent to
                   understand the perspective and experience of each individual involved in
                   order to ensure fair and impartial evaluation and resolution.” Id. at p. 29.

              iii. Failing to act in consideration of Plaintiff’s well-being. Id. at p. 39.

              iv. Failing to resolve the matter within 60 days. Id. at p. 41.

               v. Failing to provide written notice to Plaintiff as to the reasons for delays in
                  conducting the investigation. Id. at p. 41.

              vi. Failing to provide a fair and reliable gathering of facts by the investigator,
                  who included unsubstantiated, “anonymous” allegations in the investigation
                  and resulting report. Id. at p. 44.



                                                 56
       Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 57 of 63



               vii. Depriving Plaintiff of the right to review the preliminary investigation
                    report and pose questions to Jane Doe. Id.

               viii. Including information that was “irrelevant, more prejudicial than probative
                     or immaterial” in the investigation report. Id. at p. 47.

                ix. Depriving Plaintiff of an equal opportunity to be heard. Id. at p. 45.

                 x. Taking an adversarial stance against Plaintiff at his adjudication meeting.
                    Id. at p. 51.

                xi. Failing to apply the preponderance of the evidence standard. Id. at p. 51.

               xii. Failing to follow adjudication procedures, as Justice Ternus did not meet
                    with a member of the investigation team. Id. at p. 49.

               xiii. Permitting, upon information and belief, Justice Ternus and others to review
                     Plaintiff’s appeal.

        204.     Plaintiff suffered substantial economic losses as a result of the direct, proximate,

and foreseeable consequence of the foregoing breaches.

        205.     As a result of the foregoing, Plaintiff is entitled to damages in an amount to be

determined at trial, plus prejudgment interest.

                                       COUNT III
        State Law -Breach of the Implied Covenant of Good Faith and Fair Dealing

        206.     Plaintiff repeats and realleges each and every allegation above, set forth in

Paragraphs 1-166, as if it fully set forth herein.

        207.     Under Iowa law it is generally recognized that there is an implied covenant of

good faith and fair dealing in a contract. Harvey v. Care Initiatives, Inc., 634 N.W.2d 681, 684

n. 4 (Iowa 2001).

        208.     Grinnell breached that covenant when Ms. Moschenross and Ms. Conner acted

in deference to Justice Ternus and failed to exercise independent judgment in determining




                                                     57
       Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 58 of 63



Plaintiff’s sanction and appeal. Ms. Moschenross and Ms. Conner were each designated as the

sole arbiters of the sanction and appeal, respectively, under the Sexual Misconduct Policy.

         209.    Grinnell also breached that covenant when, upon information and belief, Ms.

Conner permitted Justice Ternus to weigh in on Plaintiff’s appeal. Justice Ternus is not cited as

an appellate officer in the Sexual Misconduct Policy.

         210.    Upon information and belief, Grinnell administrators diverged from Grinnell’s

Sexual Misconduct policy and procedures, employing unwritten procedures and allowing

administrators who were not expressly provided decision-making authority to make decisions

in Plaintiff’s case.

         211.    As a result of the foregoing, Plaintiff is entitled to damages in an amount to be

determined at trial, plus prejudgment interest.

                                       COUNT IV
       Wrongful Discipline: Lack of Fundamental Fairness in Disciplinary Proceedings

         212.    Plaintiff John Doe repeats and realleges each and every allegation above, set forth

in Paragraphs 1-166, as if fully set forth herein.

         213.    Iowa state courts, and the United States Court of Appeals for the Eight Circuit,

recognize that private school students facing disciplinary actions are entitled to a disciplinary

process that: (i) adheres to the school’s established standards, and (ii) is not arbitrary,

unreasonable, or conducted in bad faith. See Harvey v. Palmer Coll. of Chiropractic, 363 N.W.2d

443, 444 (Iowa Ct. App. 1984) (“‘The requirements imposed by the common law on private

universities parallel those imposed by the due process clause on public universities.’ . . . It is

clear . . . that a private university may not expel a student arbitrarily, unreasonably, or in bad faith.”

(citations omitted)); see also Warren v. Drake Univ., 886 F.2d 200, 202 (8th Cir. 1989) (citing

Harvey).

                                                     58
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 59 of 63



       214.    In the instant case, Grinnell’s disciplinary process neither conformed to its

established procedures, nor satisfied principles of fundamental fairness and due process because,

without limitation:

           a. Plaintiff was not fully apprised of the allegations against him until he met with the
              Title IX investigator.

           b. The Title IX investigator asked Plaintiff about an anonymous complaint after
              Plaintiff was told the College was not investigating said complaint. This
              information was included in the investigation report provided to Justice Ternus.

           c. The Title IX investigator failed to question Jane Doe’s former boyfriend.

           d. The Title IX investigator failed to ask Jane Doe questions which challenged her
              credibility, including why she initially named a person other than Plaintiff as the
              perpetrator of the alleged sexual misconduct. The investigator also declined to
              interview Jane Doe’s former boyfriend at Jane Doe’s request.

           e. Plaintiff was not given the opportunity to review the preliminary investigation
              report or pose questions to Jane Doe.

           f. Plaintiff had no opportunity to confront, or cross-examine, Jane Doe.

           g. Because over two years had passed since his encounter with Jane Doe, Plaintiff was
              unable to collect all evidence relevant to his defense.

           h. Plaintiff did not have an equal opportunity to be heard.

           i. Prejudicial and irrelevant information was included in the investigation report that
              was provided to Justice Ternus.

           j. During Jane Doe’s adjudication meeting, Justice Ternus was encouraging and
              supportive and failed to ask her any questions which challenged Jane Doe’s
              credibility.

           k. Justice Ternus treated Plaintiff harshly and without concern for the potential impact
              of the outcome of Jane Doe’s allegations. Justice Ternus was taken aback when
              Plaintiff challenged Jane Doe’s credibility during his adjudication meeting.

           l. Justice Ternus failed to engage with evidence that contradicted Jane Doe’s
              allegations, including Jane Doe’s own statements that she never said no to the
              sexual activity in question or verbalized a lack of consent. Justice Ternus simply
              found Jane Doe to be more credible despite evidence to the contrary.


                                               59
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 60 of 63



           m. Justice Ternus misapplied the definition of consent stated in the Sexual Misconduct
              Policy, placing the burden fully on Plaintiff to obtain consent, rather than placing
              the burden on Jane Doe to appropriately withdraw consent.

           n. Justice Ternus holds outdated and discriminatory views of gender, including
              notions concerning female passivity during sexual encounters which, upon
              information and belief, influenced her decision in Plaintiff’s case.

           o. Justice Ternus failed to apply the preponderance of the evidence standard.

           p. Ms. Moschenross was responsible for initially meeting with Jane Doe to conduct a
              case assessment and for sanctioning Plaintiff.

           q. Ms. Moschenross who, among other things, publicly stated that she is on the side
              of women because she is a woman, imposed an unduly severe and unwarranted
              sanction against Plaintiff under the purported threat of harm to the community. Yet
              Plaintiff and Jane Doe coexisted at the College for over two years after the alleged
              encounter without incident.

           r. Upon information and belief, Justice Ternus provided written recommendations to
              Ms. Moschenross with respect to Plaintiff’s sanctions that were not shared with
              Plaintiff.

           s. Upon information and belief, Justice Ternus and Grinnell’s Title IX counsel
              reviewed Plaintiff’s appeal.

           t. Ms. Conner’s letter denying Plaintiff’s appeal was dripping with hostility towards
              Plaintiff, including the statement “I am sorry to hear that you still have uncertainties
              about when your sexual partners are or are not consenting.” Plaintiff never
              expressed such uncertainty, and certainly not in his appeal. Ms. Conner ignored that
              Jane Doe was responsible for withdrawing consent in accordance with the Sexual
              Misconduct Policy and that Doe’s own statements demonstrated that there was no
              policy violation. Ms. Conner also overlooked the bias in the Title IX process,
              dismissing it as Plaintiff’s mere disagreement with, or opinions about, the outcome.
              Ms. Conner asserted that because Justice Ternus was a former Supreme Court
              Justice she could not be biased.

           u. Ms. Conner’s denial of Plaintiff’s appeal was improper given the number of
              procedural flaws, including a lack of impartiality, that tainted the proceedings.

       215.    Grinnell’s overwhelming failure to conduct a thorough, fair, and impartial

investigation and adjudication of the claims against Plaintiff resulted in findings and sanctions that

were arbitrary, unreasonable, imposed in bad faith, not in compliance with Grinnell’s published


                                                 60
      Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 61 of 63



policies, and ultimately deprived Plaintiff of due process to which he was entitled both by common

law and by Grinnell’s own express promises.

        216.      Plaintiff has an undeniably strong interest in his disciplinary and educational files,

which Grinnell has permanently marked and which it will release to third parties, including

graduate schools, potential employers and in the event Plaintiff seeks security clearance for a

particular job.

        217.      Grinnell’s arbitrary, unreasonable, unfair and inappropriate actions caused Plaintiff

to sustain substantial injury, damage, and loss, including, without limitation, emotional distress,

loss of future educational and career opportunities, reputational damages, economic injuries and

other direct and consequential damages.

        218.      As result of the foregoing, Accordingly, an injunction should issue directing

Grinnell to (i) reverse the outcome and finding; (ii) vacate the sanctions; (iii) expunge Plaintiff’s

disciplinary record; (iv) remove any record of the finding and sanctions from Plaintiff’s education

records and any other records kept at the College, including but not limited to public safety records,

records kept by the development office, and any other departments maintaining such records; and

(v) destroy any and all records concerning the Title IX investigation, findings, outcome, sanctions

and Plaintiff’s appeal.

        219.      As a result of the foregoing, Plaintiff is also entitled to damages in an amount

to be determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and

disbursements.

        WHEREFORE, for the foregoing reasons, Plaintiff demands judgment against Defendant

Grinnell College as follows:

           (i)      On the first count, for violations of Title IX of the Education Amendments of
                    1972, Plaintiff is entitled to damages in an amount to be determined at trial, plus

                                                   61
Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 62 of 63



           prejudgment interest, attorneys’ fees, expenses, costs and disbursements, and an
           injunction directing Grinnell to: (i) reverse the outcome and finding; (ii) vacate
           the sanctions; (iii) expunge Plaintiff’s disciplinary record; (iv) remove any
           record of the finding and sanctions from Plaintiff’s education records and any
           other records kept at the College, including but not limited to public safety
           records, records kept by the development office, and any other departments
           maintaining such records; and (v) destroy any and all records concerning the
           Title IX investigation, findings, outcome, sanctions and Plaintiff’s appeal;

   (ii)    On the second count, for state law breach of contract, damages in an amount
           to be determined at trial, plus prejudgment interest;

   (iii)   On the third count, for state law breach of the implied covenant of good faith
           and fair dealing, damages in an amount to be determined at trial, plus
           prejudgment interest;

   (iv)    On the fourth count, for wrongful discipline/lack of fundamental fairness in
           disciplinary proceedings, Plaintiff is entitled to damages in an amount to be
           determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs
           and disbursements, and an injunction directing Grinnell to (i) reverse the
           outcome and finding; (ii) vacate the sanctions; (iii) expunge Plaintiff’s
           disciplinary record; (iv) remove any record of the finding and sanctions from
           Plaintiff’s education records and any other records kept at the College, including
           but not limited to public safety records, records kept by the development office,
           and any other departments maintaining such records; and (v) destroy any and all
           records concerning the Title IX investigation, findings, outcome, sanctions and
           Plaintiff’s appeal;

   (v)     Equitable relief in the form of an order directing Grinnell to (i) reverse the
           outcome and finding; (ii) vacate the sanctions; (iii) expunge Plaintiff’s
           disciplinary record; (iv) remove any record of the finding and sanctions from
           Plaintiff’s education records and any other records kept at the College, including
           but not limited to public safety records, records kept by the development office,
           and any other departments maintaining such records; and (v) destroy any and all
           records concerning the Title IX investigation, findings, outcome, sanctions and
           Plaintiff’s appeal.

   (vi)    Such other and further relief as the Court deems just and proper.




                                         62
     Case 4:20-cv-00107-RGE-SBJ Document 1 Filed 03/23/20 Page 63 of 63



                                      JURY DEMAND

      Plaintiff herein demands a trial by jury of all triable issues in the present matter.

Dated: March 20, 2020

                             BABICH GOLDMAN, P.C.

                             /s/ David H. Goldman
                                 David H. Goldman
                             Amy K. Davis
                             501 S.W. 7th Street, Suite J
                             Des Moines, Iowa 50309
                             Telephone: (515) 244-4300
                             Email: dgoldman@babichgoldman.com
                             Email: adavis@babichgoldman.com

                                     -and-

                             NESENOFF & MILTENBERG, LLP

                             /s/ Andrew T. Miltenberg
                                 Andrew T. Miltenberg (pro hac vice admission pending)
                             Kara L. Gorycki (pro hac vice admission pending)
                             363 Seventh Avenue, Fifth Floor
                             New York, New York 10001
                             Telephone: (212) 736-4500
                             Email: kgorycki@nmllplaw.com
                             Email: amiltenberg@nmllplaw.com

                             Attorneys for Plaintiff




                                                63
